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 1                              UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
 2                                   GALVESTON DIVISION
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     MARY DOE, as next friend of minor
 4   plaintiff, JANE DOE,

 5                Plaintiff,                   Civil Case No.:
 6    v.
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      ROBLOX CORPORATION and
 8    DISCORD INC.,

 9                Defendants.                  JURY TRIAL DEMANDED
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 1          Mary Doe, as next friend of minor Plaintiff Jane Doe (“Plaintiff”), brings this action against
 2 Roblox Corporation (“Roblox”) and Discord Inc. (“Discord”) to recover damages arising from the
 3 severe injuries Plaintiff suffered because of Defendants’ respective conduct in creating, designing,
 4 marketing, and distributing their mobile- and web-based applications (“apps”), and alleges as

 5 follows:
 6     I.   INTRODUCTION
 7          1.      This action seeks to hold Defendants Roblox and Discord accountable for
 8 facilitating the sexual exploitation of Plaintiff, who was barely a teenager at the time she was
 9 victimized. The heinous acts against Plaintiff were committed by dangerous child predators whose
10 actions were possible only because of the egregiously tortious conduct of Defendants.
11          2.      With their pervasive misrepresentations about safety, Defendants lure parents into
12 believing their apps are appropriate places for children to play. In reality, and as Defendants well
13 know, the design of their apps makes children easy prey for pedophiles. They allow adult users to
14 identify and readily initiate conversations with children, then manipulate the trust of those children.
15 Roblox allows adult users to easily identify and groom children and then move their
16 communications to Discord—an app that permits a child to chat with anyone over voice, video,

17 and text messaging. On Discord, these pedophiles are able to coerce the children into sending
18 sexually explicit images or meeting in person. There are steps Roblox and Discord could take to
19 protect children and make their apps safer. But time and again they have refused to invest in basic
20 safety features to protect against exactly the kind of exploitation Plaintiff suffered here.
21          3.      As a young child, Plaintiff was an avid user of Roblox and Discord. Plaintiff’s
22 mother allowed Plaintiff to use these apps only because she trusted that Defendants’ apps were safe
23 for children to use. Plaintiff’s family learned the truth only after it was too late. Plaintiff’s parents
24 discovered that Roblox and Discord had enabled child predators to identify, groom, and coerce
25 Plaintiff into sending sexually explicit images and videos of herself. This abuse escalated to an in-
26 person meeting at Plaintiff’s home with one of the predators, who had vaginal sexual intercourse
27 with Plaintiff at her home and recorded this act on his cell phone.

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 1           4.     Plaintiff has suffered unimaginable harm. Her innocence has been snatched from
 2 her forever. Tragically, what happened to her is far from an isolated event. Indeed, Plaintiff is just
 3 one of countless children whose lives have been devastated as a result of Defendants’
 4 misrepresentations and defectively designed apps. This action, therefore, is not just a battle to

 5 vindicate Plaintiff’s rights—it is a stand against Defendants’ systemic failures to protect society’s
 6 most vulnerable from unthinkable harm in pursuit of financial gain over child safety.
 7    II.    PARTIES
 8           A.     Plaintiff
 9           5.     Minor Plaintiff, Jane Doe, and her mother and next friend, Mary Doe, are citizens
10 and residents of the State of Texas, with a principal place of residence in Galveston County.
11           6.     Plaintiff has suffered profound and enduring harm. This includes significant
12 emotional distress, psychological trauma, and mental anguish. Plaintiff’s experiences have led to a
13 loss of trust, safety, and personal security, depriving her of the opportunity for a normal and healthy
14 development. The injuries she sustained are severe, ongoing, and permanent, affecting her daily
15 life and emotional health in lasting and immeasurable ways.
16           7.     Plaintiff was a minor at the time of using Defendants’ apps and, as such, lacked the

17 legal capacity to enter into any binding agreement. To the extent Defendants claim any contract
18 has any effect on Plaintiff’s rights in this action, such an assertion is legally erroneous, invalid, and
19 unenforceable because Plaintiff disaffirms any such contract, including any contract containing a
20 forced arbitration agreement and any delegation clause in any contract.
21           B.     Defendants
22           8.     Defendant Roblox Corporation is a Delaware corporation with its principal place
23 of business in San Mateo, California. Roblox owns, operates, controls, produces, designs,
24 maintains, manages, develops, tests, labels, markets, advertises, promotes, supplies, and
25 distributes the Roblox app. Roblox is widely available to consumers throughout the United
26 States.
27           9.     Defendant Discord Inc. is a Delaware corporation with its principal place of

28 business in San Francisco, California. Discord owns, operates, controls, produces, designs,

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 1 maintains, manages, develops, tests, labels, markets, advertises, promotes, supplies, and
 2 distributes the Discord app. Discord is widely available to consumers throughout the United
 3 States.
 4 III.      JURISDICTION AND VENUE

 5           10.   This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1332(a)
 6 because Plaintiff and Defendants are citizens of different states and the amount in controversy
 7 exceeds $75,000.
 8           11.   This Court has personal jurisdiction over Defendants because Defendants regularly
 9 conduct business in this State, provide their apps to persons in this State, and derive substantial
10 revenue from the same; Defendants affirmatively and extensively engage with a significant
11 percentage of this State’s residents through messages, notifications, and other communications;
12 and Plaintiff’s causes of action arise from Defendants’ forum-related contacts.
13           12.   Venue is proper here under 28 U.S.C. § 1391(b) because a substantial part of the
14 events or omissions giving rise to the claims occurred in this District and Division.
15   IV.     FACTUAL ALLEGATIONS AS TO ROBLOX
16           A.    Roblox Offers a Gaming App for Children.

17           13.   Launched in 2006, Roblox is an online gaming app that allows users to play myriad
18 games, which the company refers to as “experiences.” There are currently more than 40 million
19 experiences within the Roblox ecosystem. Most experiences on Roblox are created not by Roblox
20 but by individuals (often Roblox users) or companies that develop their own games and make them
21 available on Roblox for others to play.
22           14.   Roblox is easily accessible, including to children. It is free to download and play and
23 is available on gaming consoles, computers, tablets, and cellular devices.
24           15.   Roblox is designed to be an interactive experience, allowing and encouraging users
25 to communicate with each other. Gameplay interactions, user hubs, direct messaging, and voice chat
26 all promote social interactions between users. Roblox’s co-founder and CEO David Baszucki has
27 explained that his vision is for Roblox to bring about “the next phase of human interaction,” which

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 1 he also has described as “a new category of human coexperience.”1 Roblox has similarly explained
 2 that it “operates a human co-experience platform . . . where users interact with each other to explore
 3 and develop immersive, user-generated, 3D experiences.”2
 4          16.    Roblox designed its app for children. Roblox has marketed its app not only as the

 5 “#1 gaming site for kids and teens”3 but also as an educational experience for young users. Roblox
 6 claims that it provides “new gateways into learning”—from “chemistry to physics to robotics and
 7 more, Roblox experiences bring concepts to life in ways that immerse learners and motivate
 8 exploration, play, and deep thinking.”4 These offerings, according to Roblox, include “high-quality,
 9 standards-aligned, immersive educational experiences designed by curriculum experts.”5
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20                            Roblox webpage – “A New Era of Engaged Learning”
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     David Baszucki, Co-founder and CEO of Roblox, The CEO of Roblox on Scaling Community-
24 Sourced Innovation, Har. Bus. Rev., The Magazine, (Mar-Apr 2022), https://hbr.org/2022/03/the-
   ceo-of-roblox-on-scaling-community-sourced-innovation.
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     Roblox Corp., Quarterly Report (Form 10-Q) (Mar. 13, 2021).
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26 Roblox, What Is Roblox, http://web.archive.org/web/20170227121323/https://www.roblox.com/
   (archived Feb. 27, 2017).
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   11, 2025).
28 5 Id.

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 1          17.    Roblox’s popularity among children exploded during the pandemic when the app
 2 was flooded with millions of new users as kids were confined to their homes and glued to their
 3 devices. By September 2020, roughly 30 million people, more than half of them under 13, were on
 4 Roblox daily, making it the world’s biggest recreational zone for kids.

 5          18.    That growth has continued unabated. In Roblox’s 2023 Annual Report, the company
 6 reported an average of 68.5 million daily active users, with 21% under 9 years of age; 21% from 9-
 7 12 years of age; 16% from 13-16 years of age; and 41% over 17 years of age.
 8          19.    Today, Roblox is the most downloaded online game globally, and the average user
 9 spends 139 minutes a day on the app.6
10          20.    Individuals who wish to play Roblox must create an account. It is extremely easy to
11 “SIGN UP AND START HAVING FUN!” Users must provide only a birthdate, username, and
12 password. Users of any age can create an account. There is no age minimum. Roblox does not
13 require users to verify their age upon sign-up, so they can easily represent that they are younger or
14 older than their actual age.
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26                                        Roblox Sign-up Screen

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     Qustodio, Research by App Category – Gaming, https://www.qustodio.com/en/the-digital-
28 dilemma/gaming/ (last visited Feb. 11, 2025).

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 1          21.    Although Roblox states that children must have parental permission before signing
 2 up for an account, nothing prevents them from creating their own accounts and playing on Roblox.
 3 Roblox does nothing to confirm or document that parental permission has been given, no matter
 4 how young a child is. Nor does Roblox require a parent to confirm the age given when a child signs

 5 up to use Roblox.
 6          22.     After creating an account, all users are assigned a default player avatar—a
 7 cartoonish character that represents the individual user within certain games.
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14                                      Example default avatar on Roblox.
15          23.    They can then play in any of the millions of experiences on the app. These games are
16 sorted into different genres/categories, such as Sports, Role-Playing Games, Fighting, First Person

17 Shooters, Fashion, Horror, Comedy, Military, and Naval. The games recommended to a user will
18 vary based on the age the user entered when generating their account and Roblox’s algorithm that
19 recommends games to the user.
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28                                   Examples of games available on Roblox.

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 1          24.     Until November 2024, Roblox configured its app to default to settings that allowed
 2 adults to easily communicate with children. Adult strangers could “friend” and chat with a child of
 3 any age via direct (i.e., private) message. Further, even without being “friends,” adults could also
 4 chat with a child of any age within a Roblox experience through direct messages.

 5          25.     Now, under Roblox’s default settings, adults cannot directly message children under
 6 13, but Roblox still does nothing to prevent children this young from creating accounts with fake
 7 13+ birthdates, which gives them full access to Roblox’s direct-messaging options. Roblox still
 8 relies on self-reported birthdates for age verification. Further, children 13 and over are still
 9 vulnerable to receiving friend requests—or direct messages within Roblox experiences—from adult
10 strangers. There is also nothing that prohibits adults from entering fake birthdays and posing as
11 children in their attempts to friend or otherwise communicate with children users.
12          26.     Roblox generates revenue largely by selling users an in-game digital currency called
13 Robux, which they exchange for digital content such as online experiences and customized outfits
14 and appearances for their avatars. Robux can be purchased in a single transaction or a user may
15 subscribe to receive Robux on a recurring basis with a Roblox Premium membership. Roblox also
16 offers Robux gift cards that anyone can purchase and send to any user.

17          27.     Children frequently become obsessed with purchasing or otherwise obtaining Robux
18 to buy items for their avatars and to spend in their favorite experiences on Roblox. In Roblox’s
19 Avatar Store, for example, the company sells rare items at astronomical prices, such as a type of
20 hair for an avatar, which children seek to purchase to keep up with or outdo their peers on Roblox.
21 As a result, children often tell others, including strangers, that they will do “Anything for Robux.”7
22          B.    Roblox Lures Parents into Letting Their Kids Use Roblox with Promises of
23                Safety.
24          28.     Roblox’s success and continued growth have hinged on its constant assurances to
25 parents that its app is safe for children. The company has done so throughout its history and in every
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27
   7
     Olivia Carville & Cecilia D’Anastosio, Roblox’s Pedophile Problem, Bloomberg Businessweek
28 (July 23, 2024), https://www.bloomberg.com/features/2024-roblox-pedophile-problem/.

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 1 forum possible—on its website, through public promises of its highest executives, in news articles,
 2 on podcasts, and on and on.
 3          29.    Over the years, Roblox has repeatedly represented on its website that its app is safe
 4 for children and has touted the safety controls it has in place. As early as 2007, Roblox’s website

 5 assured parents that Roblox is an “online virtual playground . . . where kids of all ages can safely
 6 interact, create, have fun, and learn.”8
 7          30.    From 2008 to 2016, the website continued to promise parents, “We take every
 8 precaution possible to make sure kids are protected from inappropriate and offensive individuals as
 9 well as from indecent and distasteful content.”9 It also assured parents that Roblox had a zero-
10 tolerance policy for “swearing and obscenities, messages and content of a sexual or violent nature,
11 and any sort of aggressive or threatening communication,” and “immediately suspended or
12 permanently expelled” any offenders.10
13          31.    The website has consistently sought to paint Roblox as “family friendly” and safe for
14 children of all ages. In 2017, Roblox began declaring that it “take[s] kids’ safety and privacy very
15 seriously” and “strive[s] to continually develop new and innovative technologies that will protect
16 the safety of our community while allowing players to imagine, create, and play together in a family-

17 friendly environment.”11 Roblox similarly has advertised its app as “a safe, moderated place to meet,
18 play, chat, and collaborate on creative projects.”12
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21   8
       Roblox, Frequently Asked Questions (FAQs),
22   https://web.archive.org/web/20071105104643/http://www.roblox.com/Parents/FAQs.aspx
     (archived Nov. 5, 2007).
     9
23     Roblox, Keeping Kids Safe,
     https://web.archive.org/web/20080501101437/http://www.roblox.com/Parents/KeepingKidsSafe.a
24   spx (archived May 1, 2008); see also Roblox, Information for Parents,
     https://web.archive.org/web/20160131063648/http://corp.roblox.com/parents (archived Jan. 31,
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     2016).
     10
26      Id.
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        Roblox, Parents’ Guide,
27   https://web.archive.org/web/20170716032712/https://corp.roblox.com/parents/ (archived Jul. 16,
     2017).
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        Id.
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12                                 Excerpt from Roblox Parent’s Guide in 2017
13          32.    Roblox’s website representations have remained largely unchanged since then. In
14 2023, for example, Roblox assured parents that it “continually develop[s] cutting-edge technologies
15 to ensure that the Roblox platform remains a safe and fun space for players all over the world.”13
16 Roblox claimed that the company was “dedicated to working together with parents and digital safety

17 experts to promote a family-friendly environment that allows all players to imagine, create, and play
18 online.”14 Roblox emphasized that it is “committed to ensuring that Roblox is a safe and fun place
19 for everyone.”15 According to Roblox, it “goes above and beyond to foster an environment where
20 people of any age can create, play, learn, and imagine safely. We’ve kept children’s privacy and
21 safety top-of-mind when designing our platform, especially through the implementation of advanced
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     13
      Roblox, For Parents,
25
   https://web.archive.org/web/20230405060048/https://corporate.roblox.com/parents/ (archived
26 Apr. 5, 2023).
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      Id.
27 15 Roblox, Roblox FAQ,
   https://web.archive.org/web/20230328011957/https://corporate.roblox.com/faq/ (archived Mar.
28 28, 2023).

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 1 text filters that block inappropriate language or other unsafe content.”16
 2          33.    Roblox’s website today contains similar assurances. It claims, “Safety is in our DNA:
 3 when Dave Baszucki and Erik Cassel launched Roblox in 2006, they spent a few hours each day
 4 with the community, helping to ensure that Roblox was a safe and welcoming environment. Safety

 5 was their top priority, and they made constant improvements in their moderation, both for content
 6 and for communication on the platform.”17
 7          34.    According to the current website, Roblox “won’t allow language that is used to
 8 harass, discriminate, incite violence, threaten others, or used in a sexual context.”18 It touts a
 9 “stringent safety system and policies,”19 which includes its “expertly trained team with thousands
10 of members dedicated to protecting our users and monitoring for inappropriate content”; its “safety
11 review of every uploaded image, audio, and video file, using a combination of review by a large
12 team of human moderators and machine detection before they become available on our platform”;
13 and its chat filters for inappropriate content, which “are even stricter” for children under 13 and
14 “include any potentially identifiable personal information, slang etc.” 20
15          35.    These misleading promises and assurances are not confined to Roblox’s website.
16 They are repeated in statements by the company’s highest executives—including in direct response

17 to concerns raised by parents.
18          36.    In 2009, a blogger wrote about blocking Roblox because he doubted its safety for his
19 children. CEO David Baszucki responded to the blogger reassuring him that Roblox flags
20 “obviously offensive content” and removes it, and if “something is marginal, but gets flagged as
21
22   16
      Roblox, Roblox & User Data FAQ, https://en.help.roblox.com/hc/en-
23 us/articles/4406238486676-Roblox-User-Data-FAQ (last visited Feb. 11, 2025).
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      Roblox, Safety Comes First on Roblox, https://corp.roblox.com/safety-civility-
24 resources?section=news&article=safety-comes-first-on-roblox (last visited Feb. 11, 2025).
   18
      Roblox, Safety Features: Chat, Privacy & Filtering, https://en.help.roblox.com/hc/en-
25
   us/articles/203313120-Safety-Features-Chat-Privacy-
26 Filtering#:~:text=Players%20have%20different%20safety%20settings,and%20phrases%2%200tha
   n%20younger%20players (last visited Feb. 11, 2025).
27 19 Roblox, Safety & Civility at Roblox, https://en.help.roblox.com/hc/en-
   us/articles/4407444339348-Safety-Civility-at-Roblox (last visited Feb. 11, 2025).
28 20 Id.

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 1 inappropriate,” Roblox “investigate[s] immediately.”21
 2          37.     In a 2013 Wired interview, when asked whether a parent should be concerned about
 3 whom his child was chatting with in-game, Baszucki declared, “We take every precaution possible
 4 to make sure kids are protected from inappropriate and offensive individuals as well as from

 5 indecent and distasteful content,” taking a sentence verbatim from Roblox’s webpage for parents.22
 6          38.     Tami Bhaumik, Roblox’s current Vice President of Civility & Partnerships, has
 7 doubled down on these promises in statements to parenting magazines, news outlets, and podcasts—
 8 all aimed at persuading parents to let their children use Roblox. She also has contacted international
 9 online safety experts in an effort to sell Roblox’s safety story.
10          39.     As recently as 2024, Bhaumik told Parents Magazine that “[w]e have a responsibility
11 to make sure our players can learn, create, and play safely. This continues to be our most important
12 priority and that will never change.”23
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21          40.     Such statements by Bhaumik date back years. In 2018, Bhaumik told the Washington

22 Post that Roblox “focus[es] on making sure that everything is done in a safe and appropriate way.”24
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24   21
      Eric Frenchman, Revisiting Roblox, Pardon My French (Oct. 5, 2009),
   https://pardonmyfrench.typepad.com/pardonmyfrench/2009/10/revisiting-roblox.html.
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      Tony Sims, Interview with David Baszucki, Founder & CEO of Roblox, Wired (Feb. 7, 2013),
26 https://www.wired.com/2013/02/roblox/.
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      Maressa Brown, Is Roblox Safe for Kids? Here’s What the Experts Have to Say, Parents
27 Magazine (Apr. 29, 2024), https://www.parents.com/kids/safety/internet/is-roblox-safe-forkids/.
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      Hayley Tsukayama, Roblox, an Online Kids Game, Explains How a Hack Allowed a
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 1 That year, she also claimed to another newspaper that Roblox’s “safety team reviews every uploaded
 2 image, video, and audio file used within our games to make sure they are safe and age appropriate.”25
 3 She also boasted that Roblox has “created extensive parental controls for our games and a detailed
 4 Roblox Parent’s Guide that provides information to parents to help create a Roblox experience that’s

 5 best for their child.”26
 6          41.     In 2019, while presenting on a “Digital Civility Panel,” Bhaumik emphasized that
 7 “[w]e make sure there’s a safe environment,” citing Roblox’s “tremendous reporting system” and
 8 “incredible moderation and CS team that reacts very, very quickly.”27 On that same panel—and in
 9 contradiction to Roblox’s representation that it had always taken “every precaution possible” to
10 protect children, Bhaumik conceded that “digital civility did not exist at Roblox a year and a half
11 ago and we established this and made it a movement within our company.”28 She added later, “It’s
12 still very early days for us. This whole digital civility focus for Roblox is still there, we’re just still
13 establishing it.”29
14          42.     In a 2022 video interview about safety on Roblox, Bhaumik asserted that Roblox’s
15 “number one priority” is “to create a safe, civil, and inclusive community” and that “[s]afety and
16 civility has always been baked into everything that we do.”30 That year, on a podcast, she also

17 bragged about Roblox’s purported safety protections, including “thousands of human moderators
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20 Character’s Virtual ‘Rape’, Wash. Post. (Jul. 17, 2018),
   https://www.washingtonpost.com/technology/2018/07/17/roblox-an-online-kids-game-explains-
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   Type Characters Having Sex on Roblox App, The Sun (Jan. 29, 2018),
23 https://www.thesun.co.uk/news/5445444/roblox-app-children-danger-sex-warning/.
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   https://www.youtube.com/watch?v=XoUs1Js7WG0&list=PLcKphP00N1_kCLjvcOWdwbegJkNS
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   L-CuL&index=6.
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26    Id.
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      Id.
27 30 Video Interview with Tami Bhaumik, Roblox’s VP of Digital Civility & Partnerships (2022),
   https://www.facebook.com/bedford.sheriff/videos/roblox-how-to-help-kids-use-itsafelyrobloxs-
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 1 on the front lines” and “machine learning that is constantly taking a look at chat filters.”31 With
 2 these and other measures, she exclaimed, “[a]ny sort of bad actor that comes onto the platform is
 3 dealt with swiftly” and “[w]e remove any content that’s reported to us within minutes.”32
 4          43.    In 2023, Matt Kaufman, formerly the Chief Systems Officer for Roblox, was

 5 appointed Chief Safety Officer, at which point he too began peddling Roblox’s child safety
 6 narrative.
 7          44.    In a 2024 blog post on Roblox’s website, Kaufman asserted that “Roblox has spent
 8 almost two decades working to make the platform one of the safest online environments for our
 9 users, particularly the youngest users. Our guiding vision is to create the safest and most civil
10 community in the world.”33 According to Kaufman, “For users under 13, our filters block sharing
11 of personal information and attempts to take conversations off Roblox, where safety standards and
12 moderation are less stringent.”34 A few months later, he added, “Safety is and always has been
13 foundational to everything we do at Roblox.”35
14          45.    In a later blog post, Kaufman touted Roblox’s “track record of putting the safety of
15 the youngest and most vulnerable people on our platform first.”36
16          46.    Kaufman also recently told NPR that “any time anything happens to a child that puts

17 them at risk is one too many.”37
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        YouTube, Into the Metaverse, Podcast: EP.21: Tami Bhaumik (Roblox) - Building a Safe &
21
     Resilient Metaverse, https://www.youtube.com/watch?v=LT5_bBOYS9A.
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22      Id.
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23   2024), https://corp.roblox.com/newsroom/2024/07/driving-civility-and-safety-for-allusers.
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        Id.
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        Matt Kaufman, Chief Safety Officer, Major Updates to Our Safety Systems and Parental
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     2024), https://corp.roblox.com/newsroom/2024/04/scaling-safety-civility-roblox.
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        Scott Tong & James Perkins Mastromarino, Roblox Chief Safety Officer on New Safety
     Features, Past Cases of Child Abuse on the Platform, WBUR (Nov. 18, 2024),
28   https://www.wbur.org/hereandnow/2024/11/18/roblox-safety-features.
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 1          C.       In Reality, Roblox Is a Digital and Real-Life Nightmare for Children.
 2          47.      Roblox’s public statements and promises are carefully crafted to paint the picture of
 3 a digital playground that is safe and appropriate for children. When parents, the press, or child
 4 advocates raise questions and concerns, the company’s highest executives respond with comforting

 5 promises of safety.
 6          48.      This campaign of reassurance masks the truth about Roblox. Far from creating a
 7 safe place for children, Roblox designed, built, and maintains a toxic environment that has enabled
 8 obscene material to flourish and, worse, enables predatory pedophiles to hunt, groom, and sexually
 9 exploit children. What Roblox represents as a safe, appropriate space for children is, in fact, a
10 digital and real-life nightmare for kids.
11                1. Roblox hosts and promotes graphic, sexually explicit content.
12          49.      Roblox is a vast ecosystem offering an endless array of not just online games but
13 also immersive virtual worlds where children’s customized avatars can engage in activities like
14 playing house, adopting pets, and mimicking adult behaviors, including sexually explicit ones.
15          50.      These games and virtual worlds are brought to life through developer tools that
16 Roblox designs, controls, and makes available to third parties. These tools, which include scripting

17 capabilities, 3D modeling systems, and other software supply the infrastructure needed to create
18 content for the Roblox platform. Roblox has the power to control the use of these tools. Instead,
19 over the years, the company has given third parties essentially unfettered access to use the tools to
20 build what they want, with no meaningful oversight or safeguards. The results are deplorable.
21          51.      As early as 2010, Roblox’s virtual games had already devolved into hosting and
22 promoting sexually explicit content. Roblox’s scripting language, which allows developers to
23 manipulate avatar activity and interactions any way they want, was deployed to create scenarios
24 where avatars engaged in simulated sexual activity.38
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      See, e.g., YouTube, How to Do Roblox Sex Glitch,
   https://www.youtube.com/watch?v=Zz97Q1SQE_k; see also YouTube, Roblox Sex?,
28 https://www.youtube.com/watch?v=hyqCHG6nUYI.

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 1          52.     This simulated sexual activity pervades Roblox. There have been numerous reports
 2 of children’s avatars being raped by other users’ avatars. For example, in 2018, a seven-year-old
 3 girl’s avatar was violently raped by two male avatars on a playground in a Roblox experience,
 4 which was witnessed by the girl’s mother. 39 In describing the aftermath of this traumatic

 5 experience, the girl’s mother exclaimed, “I never in my wildest dreams would’ve ever imagined
 6 that I would have to talk with my seven-year-old about rape.”40
 7          53.     Roblox also hosts a staggering number of experiences centered on simulated sexual
 8 activity. For instance, children can play in “condo games”—predatory digital environments,
 9 including houses, where users can remove their avatars’ virtual clothing, revealing nudity, and
10 engage in disturbing simulated sexual activities with other Roblox users.41 They can also play
11 games like “Public Bathroom Simulator Vibe,” which allows access to users as young as nine
12 years old and enables users to simulate sexual activity in virtual bathrooms,42 as well as virtual
13 strip clubs, where child avatars perform sexually explicit acts, like giving lap dances to patrons.43
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      Savannah Levins, North Carolina Mom Outraged After Roblox Game Depicts Violent Acts,
23 Including Rape, WFMYNews2 (June 30, 2018),
   https://www.wfmynews2.com/article/news/local/2-wants-to-know/north-carolina-mom-outraged-
24 after-roblox-game-depicts-violent-acts-including-rape/83-569498171.
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      Id.
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      EJ Dickson, Inside the Underground Strip-Club Scene on Kid-Friendly Gaming Site Roblox,
26 Rolling Stone (Sep. 12, 2021), https://www.rollingstone.com/culture/culture-features/roblox-
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27 42 Roblox: Inflated Key Metrics for Wall Street and a Pedophile Hellscape for Kids, Hindenburg
   Research (Oct. 8, 2024), https://hindenburgresearch.com/roblox/.
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                     Roblox’s Public Bathroom Simulator Game is rated ages nine and up and
11                   allows users to simulate sexual activity.44
12            54.    A recent investigative report also exposed a multitude of other exploitative
13 experiences on Roblox that recklessly trivialize and gamify serious criminal conduct, including
14 rape. The report confirmed that Roblox actively hosted over 600 “Diddy” games, with titles like
15 “Survive Diddy,” “Run from Diddy Simulator,” and “Diddy Party,” which appear to recreate
16 reported incidents involving the music mogul Sean Combs, publicly known as “Diddy.” Diddy

17 was recently indicted and is awaiting trial for sex trafficking of minors and other grievous criminal
18 charges regarding allegations surrounding reports about “freak-off” parties—events which,
19 according to multiple lawsuits and media reports, allegedly involved forced drug use, violent
20 assaults, and the sex trafficking of minors, including victims as young as 10 years old.
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          Hindenburg Research, supra note 42.
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                      Examples of Roblox games modeled after Diddy’s sex trafficking ventures.45
13              55.      This report also revealed that Roblox permitted more than 900 Roblox accounts
14 displaying variations of convicted sex trafficker Jeffrey Epstein’s name, such as
15 “JeffEpsteinSupporter,” whose account Roblox actively permitted to openly engage in children’s
16 games. Roblox also allowed games like “Escape to Epstein Island”—a title that directly references

17 one of the locations where for years Epstein trafficked minors and other non-consenting
18 individuals so he and others could sexually and physically abuse them.
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          Id.
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10           Example of Roblox game modeled after Jeffrey Epstein’s sex trafficking ventures.46

11          56.     Roblox played a direct role in enabling these rampant, sexually exploitative

12 experiences. Roblox is fully aware that these experiences pervade its app, and it allows them to
13 continue to exist unchecked despite the ability to control or eliminate them. Leaked internal
14 Roblox documents reveal that Roblox monitored this type of content and made decisions such as
15 “[h]ow big of a ‘bulge’” was acceptable, and, with the introduction of layered clothing for avatars
16 (i.e., allowing avatars to wear multiple layers of clothing), whether players could be nude.47 By

17 allowing this type of content to exist and be easily accessible, Roblox directly contributed to the
18 proliferation of games simulating sexual activity, such as condo games and virtual strip clubs.
19          57.     The effects of these games on children can be devastating. Playing video games

20 with explicit sexual content normalizes exploitative and predatory behavior, blurring the lines of
21 what is acceptable in real life. This is particularly harmful for children, who are still developing
22 their understanding of social norms and morality. When such behavior is depicted as humorous,
23 exciting, or rewarded within a game, young players can internalize the idea that harassment or
24 sexual exploitation is harmless or even acceptable.
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     46
     Id.
27   47
     Joseph Cox & Emanuel Malberg, Leaked Documents Reveal How Roblox Handles Grooming
   and Mass Shooting Simulators, Vice (Aug. 1, 2022), https://www.vice.com/en/article/leaked-
28 documents-how-roblox-moderates-content-mass-shootings-grooming/.

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 1          58.    Studies support this connection. One study found that playing games with
 2 sexualized content was linked to increased rates of sexual harassment toward female targets,
 3 suggesting that such exposure desensitizes players to the real-world consequences of these
 4 actions.48 Another study showed that playing mature-rated games was associated with higher rates

 5 of risky sexual behavior years later, highlighting the long-term impact of exposure to sexualized or
 6 exploitative content.49
 7          59.    The interactive nature of games amplifies this effect. Unlike passive media, video
 8 games require players to actively participate in behaviors, including those that simulate
 9 harassment or exploitation, reinforcing the perception that such actions are normal or desirable.
10 This environment not only desensitizes children but also makes them more likely to replicate these
11 actions in real-world interactions.
12          60.    The dangerous content on Roblox is not limited to online games. The recent
13 investigative report discussed above found that a basic search for “adult” in Roblox revealed a
14 group with 3,334 members “openly trading child pornography and soliciting sexual acts from
15 minors.”50 And tracking these members unearthed additional Roblox groups engaged in the same
16 criminal conduct, including one massive group with 103,000 members.51 Yet Roblox failed to

17 implement any age restrictions on these criminal groups, deliberately leaving them accessible to
18 all users.52
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      Jonathan Burnay, Brad J. Bushman & Frank Larøi, Effects of Sexualized Video Games on
25
   Online Sexual Harassment, 45 Aggressive Behavior 2, 214 (March/April 2019).
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26    Jay G. Hull et al., A Longitudinal Study of Risk-Glorifying Video Games and Behavior
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27 50 Hindenburg Research, supra note 42.
   51
      Id.
28 52 Id.

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                Public chat wall for a group named “Adult Studios,” where users openly solicited
14                                            child pornography.53

15              61.   Roblox has also enabled individuals to create an entire category of pornographic

16 content. Using Roblox’s tools and software, users make virtual sex videos between avatars on

17 Roblox. These videos are clearly marked with the .rbxl file extension—Roblox’s proprietary file
18 format—establishing that this content was created within the Roblox application. Moreover, on
19 XVideos, a porn website, Roblox users seek out other users to simulate sexual acts within
20 seemingly innocuous games, like Brookhaven, which is one of Roblox’s most popular experiences
21 and is available to all users, regardless of age.
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          Id.
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                This Roblox user advertised their Roblox account on porn website, XVideos, where
25              they had uploaded videos of their avatar having sex with other Roblox users.54
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          Id.
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                Searching “Roblox” on XVideos, a porn website, yields more than 250,000 results.55
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                The comment section on a Roblox porn video on XVideos – Brookhaven is one of
19              Roblox’s most popular games and is available to users of all ages.56

20              62.    In sum, the online environment that Roblox hosts and enables contradicts its
21 representations of providing a safe product, demonstrating Roblox’s blatant disregard for the
22 safety of its youngest users and revealing the company’s prioritization of user engagement over its
23 fundamental duty to protect young users.
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          Id.
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          Id.
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 1                2. Roblox provides a hunting ground for child-sex predators.
 2          63.      For years, Roblox has served as an online platform of choice for predators seeking
 3 to find, groom, abuse, and exploit children. Roblox provides predators with easy access to tens of
 4 millions of children and allows these predators to freely move between inappropriate content and

 5 popular games to identify and target vulnerable young users. By doing so, Roblox has demonstrated
 6 reckless indifference to its fundamental obligation not to create and foster an environment that
 7 places children at significant risk of sexual exploitation.
 8          64.      These systematic patterns of exploitation on Roblox follow a predictable and
 9 preventable sequence that the company has known about and facilitated for years: a predator
10 misrepresents their age to other users on the app, cosplaying as a fellow child, methodically
11 befriends the vulnerable young victim, and then strategically manipulates the child to move the
12 conversation off Roblox to other apps—often Discord.
13          65.      As the recent Bloomberg Businessweek article titled Roblox’s Pedophile Problem
14 put it, “These predators weren’t just lurking outside the world’s largest virtual playground. They
15 were hanging from the jungle gym, using Roblox to lure kids into sending photographs or
16 developing relationships with them that moved to other online platforms and, eventually, offline.”57

17          66.      Roblox, in effect, serves as an initial access point to children for predators. Media
18 reports have repeatedly highlighted that Roblox “is being used as a first point of contact for
19 predators.”58 The children, due to their underdeveloped brains, are more trusting and naïve, and
20 often fail to recognize the danger of providing their usernames on other sites.
21          67.      Once on another app, like Discord, predators escalate their exploitation by soliciting
22 explicit material, like nude photos or videos of children doing sexually inappropriate acts, all of
23 which constitute child pornography. And while the ultimate solicitation of explicit photos or other
24 criminal acts may occur on other apps, Roblox serves as the critical facilitator that enables these
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      Carville & D’Anastosio, supra note 7.
     58
      National Center on Sexual Exploitation, The Dirty Dozen List ’24: Roblox,
28 https://endsexualexploitation.org/roblox/ (last updated Dec. 4, 2024).

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 1 predators to first identify, target, and gain the trust of young victims through its app’s design and
 2 inadequate safety measures.
 3          68.     Roblox’s app and profit-driven virtual currency system enable predators to exploit
 4 children, often by trading or extorting Robux in exchange for explicit photos. Predators commonly

 5 offer children Robux for these photos or demand Robux to avoid publicly releasing them, directly
 6 tying Roblox’s profits to the sexual exploitation of children. Roblox’s manipulative reward systems
 7 and social dynamics, intentionally designed to exploit children’s developmental vulnerabilities,
 8 create psychological pressures that predators weaponize for extortion.
 9          69.     Despite full awareness of how its app facilitates such exploitation, Roblox continues
10 to profit from these tactics by collecting transaction fees on Robux exchanges. Its reckless
11 indifference to the consequences of its deliberately engineered app mechanics highlights its
12 prioritization of profits over the safety and well-being of its young users.
13          70.     Roblox enables another pattern of predatory grooming in which predators employ
14 immediate blackmail tactics and the predators make no attempt to ingratiate themselves with the
15 children, but instead threaten them from the outset. The predator will often threaten to post nude
16 photos of others online, but claim that the child victim is the person depicted unless the child

17 complies with the predator’s demands. Through its deliberately insufficient monitoring systems,
18 Roblox allows predators to threaten children with false claims about possessing and potentially
19 releasing explicit photos, coercing young victims into complying with criminal demands.
20          71.     Regardless of how the initial grooming relationship begins, which is often as simple
21 as someone asking the child to be their boyfriend or girlfriend, the predators also often attempt to
22 make in-person contact with the child. The dangerous progression from Roblox’s online app to
23 real-world violence reveals the devastating consequences of the company’s product. Roblox’s app
24 enables predators to escalate from virtual contact to orchestrating physical meetings, leading to
25 harassment, kidnapping, trafficking, violence, and sexual assault of minors, all instances of which
26 these children suffered as a direct result of Roblox’s actions.
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 1          72.    Through numerous well-documented and publicized cases, Roblox has long been
 2 aware of the systemic exploitation that its app enables and facilitates. For years, countless children
 3 have been sexually exploited and abused by predators they met on Roblox.
 4          73.    For example, in 2017, Roblox’s app enabled a predator to target an eight-year-old

 5 child and solicit explicit photos, prompting one mother to observe that Roblox had created “the
 6 perfect place for pedophiles.”59
 7          74.    In 2018, Roblox’s app enabled a predator posing as a child to coerce a nine-year-old
 8 girl into performing and filming sexually abusive acts on her four-year-old brother through violent
 9 threats, including of death, against her family.60 That year, 24 men in New Jersey were also charged
10 with soliciting sex from minors as part of a sting operation, where the New Jersey State Police
11 Lieutenant specifically called out Roblox as a place where “individuals are posing as someone else”
12 in order “to gain someone’s trust.”61
13          75.    In 2019, a Florida predator systematically used Roblox to target children ages 10-
14 12, moving them to Discord to coerce the children into sending him naked pictures of themselves.62
15 That year, a man in Wales encouraged 150 children to engage in sexual activity by contacting them
16 through Roblox, where he pretended to be a child and used fake names.63

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      Pei-Sze Cheng, Evan Stulberger & Dave Manney, I-Team: Popular Online Gaming Site for
20 Kids is Breeding Ground for Child Sex Predators, Mother Says, NBC New York (Apr. 6, 2017),
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 1          76.    During the pandemic, reports of child sex abuse facilitated by Roblox accelerated.
 2 In 2020, for example, Roblox enabled a 47-year-old predator to pose as a teenager, target a 16-year-
 3 old girl, move the conversation to Facebook, solicit explicit photos and videos, all of which
 4 constituted child pornography,64 and ultimately traffic her across state lines, raping her multiple

 5 times.65 In Michigan, a man was arrested for persuading an eight-year-old girl to send him videos
 6 of herself, in various stages of undress, in exchange for Robux.66 The perpetrator had been arrested
 7 for similar offenses three years earlier and was a registered sex offender in Kansas. This perpetrator
 8 was not the only convicted sex offender who was able to freely create accounts on Roblox: in 2021,
 9 a convicted sex offender used Roblox to sexually solicit a 12-year-old child.67 And in 2022, a 33-
10 year-old man groomed a 13-year-old girl on Roblox, transported her from her home in Kansas to
11 his home in Georgia, and raped her multiple times.68
12          77.    2023 was more of the same. For example, a 30-year-old man was arrested for
13 soliciting illicit photos from young victims and authorities reported that he had three separate
14 Roblox accounts.69 A 27-year-old man was arrested for kidnapping an 11-year-old girl whom he
15 met on Roblox.70 A 23-year-old New Jersey man, who was a prominent Roblox developer with a
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18   64
      U.S. Dep’t of Justice, Magnolia Man Gets Life For Exploiting Young Female He Met and
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   https://www.facebook.com/watch/?v=338311109095057.
27 70 Man Charged in Kidnapping of 11-year-old He Met Through Roblox from Her NJ Home:
   Police, ABC7 (Oct. 21, 2023), https://abc7ny.com/roblox-kidnapping-new-jersey-online-
28 grooming/13927383/.

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 1 known history of exploiting children via Roblox, was sentenced to 15 years in prison for grooming
 2 a 15-year-old girl, transporting her to his house, and sexually abusing her.71
 3          78.    Similar incidents continued throughout 2024. For example, a 21-year-old Chilean
 4 man was arrested for traveling to the U.S. to meet an underage girl he met on Roblox, where he

 5 had “spent several months manipulating and grooming” her.72 A 21-year-old in California pled
 6 guilty for directing a 10-year-old girl, whom he met on Roblox, to disrobe and touch herself.73 A
 7 64-year-old man admitted to posing as a 13-year-old boy on Roblox, where he met a 12-year-old
 8 girl and convinced her to send sexually explicit photos of herself and a young relative.74 A 29-year-
 9 old Michigan befriended and groomed an 11-year-old girl on Roblox by posing as a teenager and
10 then coerced the girl into sending multiple explicit photos of herself.75 And a 24-year-old man raped
11 a 10-year-old girl he had met on Roblox.76
12          79.    While most predators on Roblox lure children into their grasp by pretending to also
13 be children, many predators do not even hide their intentions, roaming Roblox with usernames like
14 like “@Igruum_minors,” “@RavpeTinyK1dsJE,” and “@EarlBrianBradley”—a reference to one
15 of the most prolific pedophiles ever, who raped and molested hundreds of children.
16

17   71
        U.S. Dep’t of Justice, New Jersey Man Sentenced to 15 Years in Federal Prison After Grooming
18   Minor Online and Transporting Her Across State Lines Via Uber for Sex (Aug. 30, 2023),
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20   U.S. to Meet Her, Police Say, L.A. Times (Aug. 22, 2024),
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22   County, KRCR (Sep. 25, 2024), https://krcrtv.com/news/local/online-predator-who-targeted-10-
     year-old-on-roblox-pleads-guilty-in-butte-county.
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     Explicit Images, KTLA 5 (Jul. 26, 2024), https://ktla.com/news/california/man-64-admits-to-
24   catfishing-girl-on-roblox-convincing-her-to-send-explicit-images/.
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        Michael Martin, Roblox Predator: School Staffer Accused of Grooming West Michigan Child
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26   https://www.fox17online.com/news/local-news/roblox-predator-school-staffer-accused-of-
     grooming-west-michigan-child-for-illicit-photos.
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        Martin Robinson, Roblox Predator Who Raped 10-year-old Girl is Locked Up: Paedophile Who
     ‘Targeted Child He Met on Gaming Platform Is Jailed for Six Years, Daily Mail (Jan. 17, 2025),
28   https://www.dailymail.co.uk/news/article-14278563/Roblox-predator-raped-10-year-old-girl.html.
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10                       Results from an account search for “earlbrianbradley.”77

11          80.    Roblox’s systematic endangerment of children has been publicly condemned by
12 leading advocacy organizations. The National Center on Sexual Exploitation (“NCSE”) has
13 consistently named Roblox to its “Dirty Dozen” list—an annual campaign exposing companies that
14 facilitate, enable, or profit from sexual exploitation. The NCSE blasts Roblox for “treat[ing] child
15 protection like a game.”78 According to the NCSE, “[u]ntil basic child protection standards are met,
16 Roblox remains too high risk for kids.”79

17          81.    Parent reviews of Roblox on sites like Common Sense Media also document
18 disturbing incidents of naked avatars, sexting, simulated sexual assault, and adult predators.80
19          82.    The harm from this child abuse and exploitation extends beyond the initial victims.
20 Through the design of its app and inadequate safeguards, Roblox has created an abusive ecosystem
21 where former victims—children who were once exploited on Roblox—become teenage
22 perpetrators who then prey upon younger users, making today’s victims tomorrow’s perpetrators.
23 Indeed, researchers have repeatedly confirmed this victim-victimizer pipeline: when children are
24
25   77
      Hindenburg Research, supra note 42.
     78
26    National Center on Sexual Exploitation, supra note 58.
   79
      Id.
27 80 Common Sense Media, Parent Reviews of Roblox,
   https://www.commonsensemedia.org/website-reviews/roblox/user-reviews/adult (last visited Feb.
28 11, 2025).

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 1 exposed to and victimized by sexual content, they are more likely to become desensitized teenagers
 2 and adults who then exploit younger users in the same ways.81 In effect, Roblox contributes to this
 3 “raising of” predators who perpetuate the cycle of exploitation.
 4          83.    The magnitude of the harm caused by Roblox is devastating. Yet rather than warn

 5 parents, Roblox minimizes these dangers through repeated misleading public statements. Roblox’s
 6 Chief Safety Officer, Matt Kaufman, attempting to deflect attention from serious safety failures,
 7 told NPR, “I think we’re losing sight of the tens of millions of people where Roblox is an incredibly
 8 enriching part of their life.”82 And while Kaufman publicly claims that “any time anything happens
 9 to a child that puts them at risk is one too many,”83 Roblox simultaneously admitted to investors
10 that it was “unable to prevent all such [inappropriate] interactions from taking place.”84 This
11 calculated contradiction between public messaging and private admissions—telling parents that
12 even one incident is unacceptable while simultaneously acknowledging to investors that abuse is
13 inevitable—exposes Roblox’s strategy of prioritizing public relations through hollow and
14 misleading public statements over its fundamental duty to protect children.
15          D.     Roblox Knowingly Causes and Facilitates the Sexual Exploitation of Children.
16          84.    The reason that Roblox is overrun with harmful content and predators is simple:

17 Roblox prioritizes user growth, revenue, and eventual profits over child safety. For years, Roblox
18 has knowingly prioritized these numbers over the safety of children through the actions it has taken
19 and decisions it has made to increase and monetize users regardless of the consequences.
20
21
22
     81
23      James RP Ogloff, Margaret C. Cutajar, Emily Mann & Paul Mullen, Child Sexual Abuse and
     Subsequent Offending and Victimisation: A 45 Year Follow-Up Study, Trends & Issues in Crime
24   & Criminal Justice No. 440 (Jun. 2012), https://www.aic.gov.au/sites/default/files/2020-
     05/tandi440.pdf; M. Glasser et al., Cycle of Child Sex Abuse: Links Between Being a Victim and
25
     Becoming a Perpetrator, British J. Psychiatry (2001).
     82
26      Scott Tong & James Perkins Mastromarino, Roblox Chief Safety Officer on New Safety
     Features, Past Cases of Child Abuse on the Platform, WBUR (Nov. 18, 2024),
27   https://www.wbur.org/hereandnow/2024/11/18/roblox-safety-features.
     83
        Id.
28   84
        Roblox Corp., S-1 (Securities Registration Statement) 24 (Nov. 19, 2020).
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 1                  1. Roblox prioritizes growth over child safety.
 2          86.     From its inception, Roblox has focused on growth above all else, which has meant
 3 deliberately targeting, exploiting, and capitalizing on the underdeveloped child market, positioning
 4 itself as a place where kids can learn and play games in a safe environment. Recognizing that

 5 children have more free time, underdeveloped cognitive functioning, and diminished impulse
 6 control, Roblox has exploited their vulnerability to lure them to its app.
 7          87.     Roblox’s business model allowed the company to attract significant venture capital
 8 funding from big-name investors like Kleiner Perkins and Andreessen Horowitz, putting enormous
 9 pressure on the company to prioritize growing and monetizing its users. To do so, Roblox made
10 deliberate decisions that placed children at risk. For example, while other products verified the ages
11 of children and restricted access if a child fell below a certain age, Roblox welcomed and
12 encouraged children of any age, implementing no age-verification safeguards and making signing
13 up for an account extremely easy, which allowed even the youngest and most vulnerable to join.
14          88.     In 2021, riding the explosive growth in users generated by the pandemic and the
15 pandemic-driven enthusiasm for technology stocks, Roblox went public at a valuation of $41
16 billion, which brought new pressures. To satisfy the scrutiny and demands of public market

17 investors, Roblox, like many unprofitable companies, prioritized rapid growth in revenue and user
18 engagement metrics—like new user acquisition, daily active users, and average hours spent on the
19 app—on the theory that profitability would follow once the business achieved sufficient scale and
20 operating costs decreased as a percentage of revenue.85
21          89.     In pursuit of growth, Roblox deprioritized safety measures even further so that it
22 could report strong numbers to Wall Street. For instance, Roblox executives rejected employee
23
24   85
       After listing on the New York Stock Exchange, Roblox CEO David Baszucki told CNBC,
     “Roblox has been growing for 15 years . . . . That’s a long-term growth path, and we believe that
25
     continues forward, even after Covid.” Ari Levy & Jessica Bursztynsky, Roblox Jumps to $38
26   Billion Mark Cap as Public Investors Get Their First Crack at the Popular Kids Game App,
     CNBC (Mar. 10, 2021), https://www.cnbc.com/2021/03/10/roblox-rblx-starts-trading-at-
27   64point50-after-direct-listing.html. CFO Michael Guthrie added, “As [Covid] restrictions ease, we
     expect the rates of growth in 2021 will be well below the rates in 2020, however, we believe we
28   will see absolute growth in most of our core metrics for the full year.” Id.
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 1 proposals for parental approval requirements that would protect children on the platform.86
 2 Employees also reported feeling explicit pressure to avoid any changes that could reduce platform
 3 engagement, even when those changes would protect children from predators.87
 4          90.    As one former Roblox employee explained, “You’re supposed to make sure that

 5 your users are safe but then the downside is that, if you’re limiting users’ engagement, it’s hurting
 6 our metrics. It’s hurting the active users, the time spent on the platform, and in a lot of cases, the
 7 leadership doesn’t want that.”88 That same employee added, “You have to make a decision, right?
 8 You can keep your players safe, but then it would be less of them on the platform. Or you just let
 9 them do what they want to do. And then the numbers all look good and investors will be happy.”89
10          91.    By limiting safety measures, Roblox not only increased its users but also reduced
11 the company’s safety expenses as a percentage of its revenue—a key metric for Wall Steet, which
12 views trust and safety costs as detrimental to Roblox’s stock performance. Barclays, for example,
13 identified its “downside case” for Roblox’s stock as “additional safety investments due to its
14 younger demographic . . . becom[ing] a drag on [earnings] margins.”90 Barclays also wrote that it
15 viewed increased safety costs as a “negative” in Roblox’s quarterly earnings.91
16          92.    During earnings calls for investors, Roblox frequently addresses questions from

17 analysts about how trust and safety expenditures will evolve over time. Roblox’s answers reveal
18 that the company is hyper-focused on reducing its trust and safety expenses as a percentage of its
19 revenue, showing that the company is not investing as much proportionally in trust and safety as
20 the company continues to grow and attract millions of additional users.
21          93.    For example, on Roblox’s 2023 fourth quarter earnings call, an analyst praised the
22 “really high level of efficiency” seen in the numbers for infrastructure and trust and safety
23
24   86
        Hindenburg Research, supra note 42.
     87
        Id.
25   88
        Id.
     89
26      Id.
     90
        Ross Sandler, Trevor Young & Alex Hughes, Back on Track Following the 1H Hiccup,
27   Barclays (Aug. 1, 2024)
     91
        Ross Sandler, Trevor Young & Alex Hughes, Everything Accelerating, Safety & Security a Top
28   Priority, Barclays (Nov. 1, 2024)
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 1 expenditures and then asked how those figures would evolve over time.92 In response, Mike
 2 Guthrie, Roblox’s CFO, emphasized the company’s goal of reducing expenses, stating, “cost to
 3 serve is the metric that we use and it’s the metric that the [infrastructure] team owns . . . they’re
 4 working hard to drive that down . . . . [L]ike you said, it’s about 11% now, ultimately with higher

 5 efficiency . . . we see that as a high-single-digit number over the next few years.”93 He added, “[W]e
 6 still think there’s more to do there.”94
 7          94.     At other times, Guthrie has reassured investors stating, “look for trust and safety
 8 [costs] to scale below linear as we grow”95 and that Roblox was “quite happy with” trust and safety
 9 costs growing “at a lower rate than our bookings growth.”96
10          95.     Similarly, in the second quarter of 2024, CEO Baszucki highlighted that,
11 “[i]mportantly, our infrastructure and trust and safety expenditures were 8% lower year-on-year.”97
12          96.     Once public, Roblox also decided to try to attract more adult users to its app—which
13 it had historically touted as the “#1 gaming site for kids and teens.”98 With the market for underage
14 users near saturation, Roblox shifted its growth strategy to attracting older users.
15          97.     In its public offering filings, Roblox identified “age demographic expansion” as a
16 key strategy, explaining that it planned to develop experiences and content that appealed to older

17 users.99 For Roblox, “aging up” had benefits beyond user growth—it was also more profitable.
18 Older users offered a distinct financial advantage. While children spend more hours on Roblox,
19 they do not “monetize” as well because they are more constrained in their ability to spend. In
20 contrast, older users, who “have more direct control over their spend” and “monetize better,” are
21 far more lucrative—an outcome that Roblox said it predicted when it started to target older users.100
22
     92
23      Q4 2023 Earnings Call (Feb. 7, 2024).
     93
        Id. (emphasis added).
24   94
        Id.
     95
        Q4 2022 Earnings Call (Feb. 15, 2023)
25   96
        Q3 2022 Earnings Cal (Nov. 8, 2023).
     97
26      Q2 2024 Earnings Call (Aug. 1, 2024).
     98
        Roblox, What Is Roblox, http://web.archive.org/web/20170227121323/https://www.roblox.com/
27   (archived Feb. 27, 2017).
     99
        Roblox Corp., S-1 (Securities Registration Statement) 7 (Nov. 19, 2020).
28   100
         Q2 2022 Earnings Call (Aug. 10, 2022).
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 1          98.    Roblox’s executives repeatedly emphasized their strategy of “aging up” the app to
 2 attract older users. At the company’s inaugural conference with an investment bank in September
 3 2021, Roblox’s CFO, Michael Guthrie, noted that Roblox had achieved “very good penetration of
 4 nine to twelve year-olds,” and was focused on adding users over the age of 13.101 One plan was to

 5 “improve the search algorithms such that older users were finding older content,” or content
 6 tailored to their age-related demographic.102
 7          99.    And at its annual Developer Conference, CEO David Baszucki encouraged
 8 developers to create experiences for older audiences, explaining that Roblox was rolling out
 9 features designed to appeal to older users, including use of real names, screen capture and sharing
10 capabilities, video calls, and relaxed chat moderation.103 These decisions, while framed as growth
11 strategies, reflected Roblox’s willingness to compromise safety, creating new vulnerabilities and
12 more dangerous circumstances for children in its pursuit of a more profitable, older user base.
13          100.   Roblox executives consistently highlighted progress with the company’s “aging up”
14 strategy on every quarterly earnings call after this until the second quarter of 2023, when CEO
15 Baszucki declared that Roblox had achieved its goal: “We’re no longer talking about aging up. We
16 are a platform for all ages.”104 He also revealed that developers had started to “build specific 17-

17 plus experiences.”105 This progress was praised by Wall Street investment banks, who noted that
18 aged-up experiences were a promising indicator of “potential sustainable growth tailwinds for
19 Roblox,” reinforcing the company’s pivot toward maximizing profitability.106
20          101.   Despite Roblox’s deliberate targeting of older users, it failed to implement any
21 meaningful restrictions on contact between adult and child users or limit the mature content and
22
23
   101
       Roblox at Goldman Sachs Communicopia Conference (Sep. 9, 2021),
24 https://ir.roblox.com/events-and-presentations/events/event-details/2021/Goldman-Sachs-
   Communicopia/default.aspx.
25 102
       Id.
   103
26     Roblox Developers Conference 2023 Keynote (Sep. 8, 2023),
   https://www.youtube.com/watch?v=CwLThCghzA4.
27 104 Q2 2023 Earnings Call (Aug. 9, 2023).
   105
       Q2 2023 Earnings Call (Aug. 9, 2023).
28 106 Benjamin Black et al., Bookings Back on Track, Deutsche Bank (Nov. 4, 2024).

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 1 experiences it solicited from developers to attract older audiences. When asked by an equity
 2 research analyst about aged-13-and-up experiences for older users, CEO Baszucki admitted, “I
 3 want to highlight right now that we don’t have any only 13 and up experiences. We have 28% of
 4 the top thousand experiences having a majority of 13-plus [users] but those are still experiences

 5 that are open to all ages.”107 Similarly, despite urging developers to build experiences intended for
 6 users aged 17 and older, Roblox did not implement any access limitations for younger users.108
 7 Even investors recognized the connection between older users and the increased risks for children,
 8 questioning how Roblox planned to prevent inappropriate content from reaching younger users.109
 9          102.   Not only did Roblox seek to increase adult users while knowing the risks that
10 strategy posed to children, but it also sought to encourage relationships between users. At Roblox’s
11 2023 Developers Conference, CEO Baszucki revealed Roblox’s strategy to facilitate “real-life
12 relationships” between users—i.e., dating. While he deliberately avoided the word “dating,” he
13 then announced plans to build a product to support it: “I’m not going to use the D word but
14 subsequent[] real-life relationships is going to happen, okay? And we’re going to build a platform
15 to support that.”110
16          103.   By the next year, in 2024, Baszucki explicitly acknowledged this strategy. He first

17 acknowledged that online dating is “edgy” but then mocked his own safety team’s concerns about
18 the dangers—“the policy and safety team told me [dating and real-life relationships] isn’t within
19 our current policy right now”—to which the audience shared in laughter.111
20          104.   In short, for years, Roblox has deliberately sacrificed child protection—a
21 longstanding issue for the company—in pursuit of growth and profit. This systematic subordination
22
23
24
     107
       Q3 2021 Earnings Call (Nov. 9, 2021) (emphasis added).
25   108
       Q4 2022 Earnings Call (Feb. 15, 2023).
   109
26     Q3 2021 Earnings Call, supra note 107.
   110
       Roblox Developers Conference 2023 Keynote (Sep. 8, 2023),
27 https://www.youtube.com/watch?v=CwLThCghzA4.
   111
       Roblox Developers Conference 2024 Keynote (Sep. 6, 2024);
28 https://www.youtube.com/watch?v=HwbcWc2CwnM.

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 1 of child safety to business objectives reflects Roblox’s continued choice to maximize its business
 2 goals while knowingly exposing children to preventable dangers on its app.
 3                    2. Roblox facilitates child sexual exploitation through the design of its app,
 4                        inadequate safety features, and refusal to invest in basic safety protections.

 5             105.   Roblox’s pursuit of growth and profit over child safety is reflected in numerous
 6 actions it took and decisions it made related to the design and safety of its app. Had Roblox acted
 7 differently, the harm suffered by countless children would not have occurred.
 8             106.   Roblox designed its app so that anyone can easily communicate with children,
 9 creating a virtual world where predators can freely target and groom children. Until November
10 2024, adult strangers could “friend” and chat with children of any age via direct messages and chat
11 with them in an experience through direct messages even if they were not friends. While Roblox
12 offered some adjustable parental controls for users under the age of 13, these children could bypass
13 those controls simply by creating an alternate account falsely identifying as a 13+-year-old user.
14 By designing its app this way, Roblox stripped parents of basic protective options to prevent adult
15 strangers from communicating with their children.
16             107.   This practice contrasts sharply with other gaming products like Nintendo, which use

17 preprogrammed dialogue options to tightly control user interactions.112 By adopting a similar
18 approach, Roblox could have significantly reduced—if not eliminated—the grooming and child
19 abuse facilitated by its app because predators would not have been able to solicit any personal
20 information or send any coercive or sexually suggestive messages.
21             108.   Roblox also enabled the common practice in which a predator meets and grooms a
22 child on Roblox and then transitions that child to a messaging app—often Discord. Roblox allows
23 links to Discord to be posted in game descriptions and in Roblox groups, which are user-created
24 communities on Roblox. Indeed, Roblox’s March 2022 Community Standards lists Discord as one
25 of only a handful of external apps that users were allowed to link to: “When using Roblox, you
26 may not link to any external websites or services, except for: YouTube, Facebook, Discord, Twitter,
27

28   112
           Carville & D’Anastosio, supra note 7.
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 1 and Twitch.”113 Roblox could have prevented users from linking to Discord. In fact, the company
 2 previously did not allow its users to link to Discord because it could not “risk unfairly exposing
 3 underage users to platforms such as Discord.”114
 4          109.   Roblox also encourages users to communicate on Discord by allowing users to

 5 include their Discord usernames in their Roblox profiles.115
 6          110.   This relationship created a shared ecosystem where users toggling between both
 7 apps benefited both companies. Even when the inappropriate conversations and solicitation of
 8 sexually explicit photos and videos occurred on Discord, Roblox profited when children were
 9 coerced with Robux into sending naked and other explicit photos or videos, while Discord benefited
10 from getting more active users. Anything that keeps users engaged benefits both companies, and
11 by fostering this interconnectivity, Roblox prioritized engagement and mutual profit over the safety
12 of its users, enabling harmful behavior to flourish across both apps.
13          111.   Roblox further endangered children by introducing voice calls in November 2023.
14 Called “Roblox Connect,” this virtual call feature allows users to have a conversation through their
15 avatars in real time. Concerns were immediately raised about this feature. For example, one user
16 emphasized, “This is a bad idea Roblox, and especially on your platform because this is where

17 most predators are coming from, and it makes it way easier for predators to prey on children.” 116
18          112.   As Roblox contemplated and rolled out Roblox Connect, it knew that this feature
19 would drastically increase the risk to children on its app. That is because another company had
20 implemented a similar feature with disastrous consequences. Omegle was a chat website that
21 operated from 2009 to 2023. Omegle allowed users, including children, to engage in anonymous
22 chats with strangers. In March 2010, Omegle introduced a video-chat feature. Despite efforts to
23
24   113
         Roblox, Roblox Community Standards (May 6, 2022).
     114
         Roblox, Reminder Regarding Permissible Links (Nov. 2017),
25
     https://devforum.roblox.com/t/reminder-regarding-permissible-links/61736.
     115
26       YouTube, How to Add Discord to Roblox Profile, https://www.youtube.com/watch?v=tOd-
     W3kdm44.
27   116
         Josh Taylor, Roblox Under Fire After Adding Controversial Voice Call Feature, Dexerto (Nov.
     15, 2023), https://www.dexerto.com/roblox/roblox-under-fire-after-adding-controversial-voice-
28   call-feature-2384564/.
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 1 monitor for mature and sexual content, the website became infamous for exposing minors to
 2 explicit material, predators, and exploitation. Omegle’s failure to protect users led to numerous
 3 incidents, including criminal cases involving child pornography. In November 2023, the same
 4 month Roblox launched Roblox Connect, Omegle announced that it would cease operations. In

 5 shutting down, its founder highlighted the site’s misuse: “[T]here can be no honest accounting of
 6 Omegle without acknowledging that some people misused it, including to commit unspeakably
 7 heinous crimes.”117 And he thanked one survivor for “opening my eyes to the human cost of
 8 Omegle.”118 Nevertheless, Roblox introduced voice calls the same month that Omegle shut down.
 9          113.    Roblox also refused to implement simple measures that would have protected
10 children using its app. For example, despite having the ability to require basic identity verification,
11 Roblox instead chose to allow users to create accounts without providing their name or email
12 address—a policy that enables predators to easily create multiple anonymous accounts.
13          114.    Roblox could have also required children under 13 to provide their names and email
14 addresses and obtain parental approval—a fundamental protection against predators—but refused
15 to do so. This decision allowed the company to bypass certain protections that are mandated by
16 federal law and designed to protect children. The Children’s Online Privacy Protection Act

17 (“COPPA”) prohibits companies like Roblox from collecting, using, or disclosing the personal
18 information of children under 13 without verifiable parental consent. COPPA was enacted because
19 Congress recognized the heightened vulnerability of children on the internet. As the Federal Trade
20 Commission (“FTC”) noted, children under 13 lack the capacity to “understand fully the potential
21 serious safety and privacy implications” of sharing their personal information.119
22          115.    The FTC has outlined clear and acceptable methods for obtaining verifiable parental
23 consent. These include: (a) providing a form for parents to sign and return; (b) requiring the use of
24
25
     117
26     Omegle, https://www.omegle.com/ (last visited Feb. 11, 2025).
     118
       Id.
27 119 Federal Trade Commission, Privacy Online: A Report to Congress (1998),
   https://www.ftc.gov/sites/default/files/documents/reports/privacy-online-report-congress/priv-
28 23a.pdf.

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 1 a credit card or online payment that notifies parents of each transaction; (c) connecting parents to
 2 trained personnel via video conference; (d) offering a staffed toll-free number for parental
 3 verification; (e) asking knowledge-based questions to confirm identity; or (f) verifying a parent’s
 4 photo-ID by comparing it to a second photo using facial recognition technology.120

 5          116.   Yet instead of implementing safeguards to comply with COPPA, Roblox chose to
 6 bypass these protections altogether. Roblox intentionally avoids requesting a name or email address
 7 during sign-up to sidestep the requirement of verifiable parental consent. In fact, former employees
 8 revealed that Roblox considered requiring verifiable consent, but ultimately resisted its
 9 implementation out of fear that such requirements might drive users away.121 Consequently,
10 creating a Roblox account is alarmingly easy, requiring less than sixty seconds and no meaningful
11 oversight—a choice that prioritizes growth over the safety of its youngest users.122
12          117.   Another easy-to-implement feature that would have improved safety is adding pop-
13 up safety notices within chats and games to warn users about their behavior or the dangerous
14 behavior of others. But Roblox executives also rejected this change.123
15          118.   Additionally, although Roblox knew that predators routinely operate dozens of
16 Roblox accounts at the same time, the company chose not to implement basic blocking of digital

17 identifiers—both the unique network addresses that track internet connections (Internet Protocol
18 or IP addresses) and the permanent hardware identification numbers assigned to devices (Media
19 Access Control or MAC addresses) that could prevent predators from creating multiple accounts.124
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21
22
23
24   120
         Federal Trade Commission, Complying with COPPA: Frequently Asked Questions, July 2020,
     https://www.ftc.gov/business-guidance/resources/complying-coppa-frequently-asked-questions.
25   121
         Hindenburg Research, supra note 42.
     122
26       Scott Tong & James Perkins Mastromarino, Roblox Attempts to Bar Child Predators as Short
     Sellers Target the Popular Game Platform, WBUR (Oct. 21, 2024),
27   https://www.wbur.org/hereandnow/2024/10/21/roblox-child-predators-safety.
     123
         Carville & D’Anastosio, supra note 7.
28   124
         Id.
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 1          119.    Similarly, Roblox chose not to require adult users to verify phone numbers—which
 2 would create significant barriers to predators creating multiple accounts—despite knowing that this
 3 enables bad actors to easily create numerous anonymous accounts to target children.125
 4          120.    Roblox also opted not to require users to verify their age by uploading a picture of

 5 either their or their parents’ ID, a practice that many other applications employ. Doing so would
 6 have restricted the content available to young users and prevented predators from easily
 7 mispresenting their age, which is often their approach in targeting and grooming children. As one
 8 father told the press after seeing other users solicit his avatar for sex, “There is nothing to stop
 9 adults going on there and pretending they’re kids.”126
10          121.    Despite these glaring failures, Roblox aggressively markets and promotes itself as
11 an “industry leader” when it comes to child safety.127 Central to this self-serving narrative is its
12 “accomplishments” of investing in artificial intelligence (“AI”) and machine learning systems
13 supposedly designed to scan and monitor all communications on the app and prevent the sharing
14 of inappropriate content and personally identifiable information.128
15          122.    Yet this technology has proven grossly inadequate and insufficient to protect
16 children. For example, Roblox’s filters have inexplicable omissions. While Roblox blocks certain

17 words, like “Snap” and “Snapchat,” to supposedly prevent off-app communications, it allows
18 workarounds such as the use of the ghost emoji (👻), which is widely recognized as a symbol for
19 Snapchat, or alternative spellings, like “Snappy” or “apchat.” Similarly, while the word “Discord”
20 is blocked, users can bypass this filter by using the disc emoji (💿) or typing variations, like “iscord”
21
22
23
24   126
         Carl Stroud, Horrified Dad Found Sick Messages from Paedo Predator in His Eight-Year Old
     Son’s Roblox iPad Game, The Sun (Feb. 15, 2017),
25
     https://www.thesun.co.uk/news/2872376/horrified-dad-found-sick-messages-from-paedo-
26   predator-in-his-eight-year-old-sons-roblox-ipad-game/.
     127
         Q1 2021 Earnings Call (May 11, 2021).
27   128
         Roblox, Safety Features: Chat, Privacy & Filtering,
     https://web.archive.org/web/20240714130904/https://en.help.roblox.com/hc/en-
28   us/articles/203313120-Safety-Features-Chat-Privacy-Filtering (archived Jul. 14, 2024).
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 1 or “cord.”129 That Roblox selectively blocks the words “Snap,” “Snapchat,” and “Discord” reveals
 2 that Roblox is fully aware of the dangers of off-app inappropriate communications yet chooses not
 3 to close these loopholes And while Roblox prevents users from sharing phone numbers in
 4 numerical format, it does nothing to stop users from spelling out the numbers.130

 5          123.   Similarly, while Roblox attempts to block the word “condo,” countless external
 6 groups on platforms like Reddit and Discord are dedicated to helping users locate new explicit
 7 content on Roblox. As soon as Roblox removes one game, its ineffective safeguards allow the same
 8 game to be reuploaded almost immediately from a new account, perpetuating the cycle of explicit
 9 and harmful content. External groups have capitalized on Roblox’s weak moderation by guiding
10 predators to these reuploaded games, with Fast Company easily identifying 150 Discord groups
11 dedicated to exploiting Roblox’s lack of robust enforcement.131
12          124.   Beyond Roblox’s ineffective technology, the company also employs a woefully
13 inadequate number of human moderators to analyze and manage content on its platform. With only
14 about 3,000 moderators, Roblox pales in comparison to platforms like TikTok, which, despite
15 having only three times the number of users, employs more than ten times the number of
16 moderators at 40,000.132 Roblox attempts to justify this disparity by claiming “[y]ou really can’t

17 judge the quality of these moderation systems by the number of people.”133 But the reality tells a
18 different story. Roblox’s moderators, many of them overseas contractors, report being
19 overwhelmed by an unmanageable volume of child safety reports, making it impossible to address
20 all concerns effectively and leaving countless safety issues unresolved.134
21
22   129
       Edwin Dorsey, Problems at Roblox (RBLX) #5, The Bear Cave (Oct. 17, 2024),
23 https://thebearcave.substack.com/p/problems-at-roblox-rblx-5.
   130
       Id.
24 131 Burt Helm, Sex, Lies and Video Games: Inside Roblox’s War on Porn, Fast Company (Aug.
   19, 2020), https://www.fastcompany.com/90539906/sex-lies-and-video-games-inside-roblox-war-
25
   on-porn.
   132
26     Carville & D’Anastosio, supra note 7.
   133
       Scott Tong & James Perkins Mastromarino, Roblox Chief Safety Officer on New Safety
27 Features, Past Cases of Child Abuse on the Platform, WBUR (Nov. 18, 2024),
   https://www.wbur.org/hereandnow/2024/11/18/roblox-safety-features.
28 134 Carville & D’Anastosio, supra note 7.

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 1          125.   Even the safety data that Roblox touts is flawed and only underscores the growing
 2 dangers created by the company’s app. For example, Roblox proudly points to its low percentage
 3 of reports to the National Center for Missing and Exploited Children (“NCMEC”)—the leading
 4 U.S. nonprofit organization tasked with preventing child exploitation and assisting in the recovery

 5 of missing children. Roblox claims that it accounts for less than .04% of reports made to
 6 NCMEC.135 But this data is entirely self-reported and therefore depends on Roblox’s ineffective
 7 content moderation and safety team. This self-reported data to NCMEC—flawed and limited as it
 8 is—also reveals a disturbing trend: Roblox’s reports about suspected child sexual exploitation have
 9 surged over the years, from 675 reports in 2019 to 13,316 reports in 2023.136
10          126.   Roblox also boasts that just “0.0063% of [its] total content was flagged for
11 violating” policies. But Roblox itself controls the systems responsible for identifying and flagging
12 violative content.137 These lower percentages are thus a reflection not of safety but of Roblox’s
13 ability to minimize the appearance of problems through its own inadequate reporting and
14 enforcement mechanisms. By hiding behind self-serving metrics and refusing to take meaningful
15 action, Roblox has fostered an environment where children are subjected to irreparable harm while
16 the company continues to reap financial rewards.

17          127.   And the very existence of Roblox’s trust and safety “data” on inappropriate
18 communications to train its AI systems contradicts its claim that “one is too many” when it comes
19 to the sexual exploitation of children. This data exists only because countless instances of abuse,
20
21
     135
22       Scott Tong & James Perkins Mastromarino, Roblox Attempts to Bar Child Predators as Short
     Sellers Target the Popular Game Platform, WBUR (Oct. 21, 2024),
23   https://www.wbur.org/hereandnow/2024/10/21/roblox-child-predators-safety.
     136
         National Center for Missing & Exploited Children, 2019 CyberTipline Reports by Electronic
24   Services Providers (ESP), https://www.missingkids.org/content/dam/missingkids/pdfs/2019-
     reports-by-esp.pdf; see also National Center for Missing & Exploited Children, 2023 CyberTipline
25
     Reports by Electronic Services Providers (ESP),
26   https://www.missingkids.org/content/dam/missingkids/pdfs/2023-reports-by-esp.pdf.
     137
         Vikki Blake, Roblox Reported Over 13,000 Incidents to the National Center for Missing and
27   Exploited Children in 2023, GamesIndustry.biz (Jul. 23, 2024),
     https://www.gamesindustry.biz/roblox-reported-over-13000-incidents-to-the-national-center-for-
28   missing-and-exploited-children-in-2023.
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 1 exploitation, and predatory interactions have already occurred. Roblox’s reliance on this data to
 2 train its AI systems exposes the reality that its so-called safety measures are not designed to prevent
 3 these atrocities but to react to them after the damage has been done. Instead of creating a secure
 4 environment where such harm never occurs and ensuring that such interactions never happen in the

 5 first place, Roblox uses the suffering and trauma of children as the foundation for its trust and safety
 6 systems. This cycle underscores the company’s prioritization of optics over genuine protection,
 7 leaving its youngest users at the mercy of its neglect.
 8          128.    Roblox’s own developers even admit that Roblox is unsafe for children. 138 Online
 9 forum discussion posts are replete with developers writing that they would not allow their own
10 children to use the platform, citing pervasive issues with Roblox’s child safety policies. Many of
11 these posts highlight the platform’s systemic failures and suggest straightforward changes Roblox
12 could implement to create a safer environment but has consistently ignored—for example:
13              a. “Unfortunately, it is worse now due to Roblox’s moderation being so abysmal and
14                  Roblox being a far more widespread platform. Creeps flock aplenty when before the
15                  creep: kid ratio was much much lower . . . . Roblox has no interest in actually fixing
16                  the issues so long as the bad press doesn’t end up viral.”139

17              b. “No. Roblox is not safe for children. The amount of NSFW [Not Safe for Work] I
18                  see on this platform on a daily basis is unbelievable. I’m surprised COPPA hasn’t
19                  taken any action.”140
20              c. “I believe they need to automatically rate these games for older audiences, if not,
21                  you know, removing them entirely. I could keep going on about this issue, but it’s
22                  just beating a dead horse at this point.”141
23
24
25
     138
26     Edwin Dorsey, Problems at Roblox (RBLX) #5, The Bear Cave (Oct. 17, 2024),
   https://thebearcave.substack.com/p/problems-at-roblox-rblx-5.
27 139 Id.
   140
       Id.
28 141 Id.

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 1              d. “Roblox got banned for bad moderation; Turkey banned it to ‘protect children,’ and
 2                 they are not wrong. The amount of visits from 10 of these games is, in summary,
 3                 100 million+. I don’t want to know how many of these children have seen nudity or
 4                 even developed a p*rn addiction. But that is a big problem with Roblox doing almost

 5                 nothing to prevent it.”142
 6          130.   These statements, coming from individuals familiar with Roblox’s operations, paint
 7 a picture of an environment rife with neglect, where harmful content flourishes, predators thrive,
 8 and Roblox repeatedly fails to act—even in the face of widespread and urgent warnings.
 9              3. Roblox’s recent safety changes are woefully inadequate and fail to address
10                 years of neglect and harm caused by its app.
11          131.   After years of mounting pressure, Roblox recently announced changes to its child
12 safety features. These changes were prompted not by the years of police reports and widespread
13 media coverage but by a scathing report published by a well-known short seller accusing the
14 platform of being a “pedophile hellscape for kids.” 143 Released on October 8, 2024, the report
15 sparked public outrage, detailing many of the issues described above that Roblox had long ignored.
16          132.   A little more than a month later, Roblox announced a series of changes, including

17 permanently removing the ability to message others outside of games on its app for under 13-year-
18 old users;144 giving parents a separate dashboard where they can monitor a child’s Roblox account,
19 view the child’s friend list, set spending control, and manage screen time;145 preventing games from
20 using chalkboard writings where people could get around the censoring of communications;146 and
21
22
     142
23       Id.
     143
         Hindenburg Research, supra note 42.
24   144
         Roblox Tightens Messaging Rules for Under-13 Users Amid Abuse Concerns, Reuters (Nov.
     18, 2024), https://www.reuters.com/technology/roblox-tightens-messaging-rules-under-13-users-
25
     amid-abuse-concerns-2024-11-18/.
     145
26       Robert Booth, Roblox to Give Parents More Control Over Children’s Activity After Warnings
     Over Grooming, The Guardian, (Nov. 18, 2024),
27   https://www.theguardian.com/technology/2024/nov/18/roblox-to-hand-parents-more-control-over-
     their-childrens-activity.
28   146
         Id.
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 1 implementing restrictions to stop under 13-year-old users from accessing new Roblox games that
 2 are awaiting maturity ratings.147
 3          133.    These changes could all have been implemented years ago. None of them involve
 4 any new or groundbreaking technology. Roblox only moved forward when its stock was threatened.

 5          134.    And these changes are little more than window dressing—too little, too late, and
 6 woefully inadequate. Most fundamentally, Roblox still allows adults to contact and message
 7 children. Roblox only banned user-to-user messaging for users under the age of 13 outside of
 8 games. Predators can still message children on public chats while playing games; indeed, Roblox
 9 has left child predators’ blueprint for finding children on the application intact since predators have
10 always found children by playing games they know that children will frequent. Roblox also failed
11 to address core issues like the app’s lack of age verification and refusal to require parental consent
12 to make an account. Roblox did not commit to hiring more content moderators, nor did it implement
13 any sort of identity check to prevent registered sex offenders from making accounts.
14          135.    Just as Roblox rolled out these changes, it simultaneously introduced a new
15 “Parties” feature in an attempt to counteract any potential loss in user engagement.148 Because
16 Roblox knew that users often turned to other apps like Discord to communicate while playing video

17 games and because Roblox knew that its safety changes would reduce key user engagement
18 metrics, it sought to capture that traffic (and revenue) and replace any loss of engagement with the
19 Parties feature. While the Parties feature is currently available only for users aged 13 and older,
20 such limitations are hollow without robust age verification. And the fact that Roblox has stated that
21 it is exploring making such a feature available to younger users demonstrates that, far from
22 prioritizing safety, Roblox’s real focus is protecting its bottom-line.149
23          136.    Roblox has also engaged in a deceptive public relations campaign using ostensibly
24 independent online safety organizations to influence the narrative around these changes. For
25
26
     147
       Id.
27   148
       Rebecca Ruiz, Roblox’s New Party Feature Makes Discord Obsolete, Mashable (Dec. 2, 2024),
   https://mashable.com/article/roblox-party-discord.
28 149 Id.

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 1 instance, Roblox has leveraged its ties to groups like the Family Online Safety Institute (“FOSI”).
 2 An online parenting magazine favorably quoted Stephen Balkam, FOSI’s CEO, as endorsing
 3 Roblox’s new features as a win for child safety.150 What the article omitted, however, is that
 4 Roblox’s own Vice President of Civility and Partnerships, Tami Bhaumik, serves as FOSI’s board

 5 chair—an obvious conflict of interest.151 This calculated relationship exposes how Roblox
 6 manipulates public perception by using seemingly independent safety organizations as
 7 mouthpieces to shape the narrative in its favor.
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               Stephen Balkam’s LinkedIn post revealing his connection to Roblox in a post
21                                  praising Roblox’s changes.152

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       Anna Halkidis, What Roblox’s Latest Changes Mean for Your Kids’ Online Safety, Parents
25
   (Nov. 18, 2024), https://www.parents.com/roblox-new-parental-controls-8747405.
   151
26     FOSI Welcomes Roblox Vice President as New Board Chair, FOSI (Oct. 12, 2022),
   https://www.fosi.org/about-press/fosi-welcomes-roblox-vice-president-as-new-board-chair.
27 152 LinkedIn, Stephen Balkam’s Post, https://www.linkedin.com/posts/stephenbalkam_what-
   robloxs-latest-changes-mean-for-your-activity-7264409332950220801-WCDF (last visited Jan. 6,
28 2025).

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 1    V.    FACTUAL ALLEGATIONS AS TO DISCORD
 2          A.     Discord Offers a Communications App That It Markets to Children.
 3          137.   Discord is a communications app that allows users to chat over voice, video, and
 4 text messaging. Discord is organized into chat groups called “servers,” which are topic-based

 5 virtual spaces that users can join to engage in conversations with others. Servers are organized into
 6 subtopics called “channels,” which are divided into text and voice channels. In text channels, users
 7 post messages, upload files, and share images. In voice channels, users communicate through voice
 8 or video chat and screen share. Users can also send private messages via voice, video, or text.
 9          138.    Launched in 2015, Discord quickly became the top app for gamers looking to
10 communicate while playing videogames. The company’s founders shared a love of video games
11 and created a service for gamers to seamlessly communicate with each other. Discord has since
12 expanded to include a wider audience of anyone looking to communicate with others about an
13 endless array of topics. As Discord puts it, “Discord is now where the world talks, hangs out, and
14 builds relationships”—“Discord lets anyone create a space to find belonging.”153
15          139.   Although many users on Discord are adults, Discord directly markets its app to
16 young users. For example, Discord advertises its functionality for school clubs and offers “Student

17 Hubs,” which are “dedicated places for students on Discord that make it easy to meet classmates
18 from your own school, discover their communities on Discord, and share your servers for your
19 fellow classmates to join.”154 Discord also markets to young users with features such as “custom
20 emoji, stickers, soundboard effects and more to add your personality to your voice, video or text
21 chat.” 155 According to Discord, these features are designed to “make your group chats more fun.”156
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     153
       Discord, Create Space for Everyone to Find Belonging, https://discord.com/company (last
25
   visited Feb. 11, 2025).
   154
26     Discord, Discover Your Next Favorite Campus Club in Student Hubs (Aug. 22, 2022),
   https://discord.com/blog/discover-your-next-favorite-campus-club-in-student-hubs.
27 155 Discord, Create Space for Everyone to Find Belonging, https://discord.com/company (last
   visited Feb. 11, 2025).
28 156 Id.

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 8                        Example of a custom emoji from Discord’s website.157

 9          140.   In recent years, Discord has exploded in popularity among young users, driven in

10 part by the pandemic. As The New York Times explained in its article How Discord, Born from an
11 Obscure Game, Became a Social Hub for Young People, “While adults working from home flocked
12 to Zoom, their children were downloading Discord to socialize with other young people through
13 text and audio and video calls in groups known as servers.”158 Given this influx of young people,
14 which has only grown since the pandemic, the average age of a Discord user is 16 years old.159
15          141.   Creating an account on Discord is extremely easy. Users must provide only an email

16 address, display name, username, password, and birthdate. Users can then access Discord for free

17 on their computers, tablets, and cellular devices.
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     157
       Discord, Custom Emojis, https://support.discord.com/hc/en-us/articles/360036479811-Custom-
25
   Emojis#h_01H06JVDAV2VKZBTRGJDY8NBV7 (last visited Feb. 11, 2025).
   158
26     Kellen Browning, How Discord, Born from an Obscure Game, Became a Social Hub for Young
   People, N.Y. Times (Dec. 29, 2021), https://www.nytimes.com/2021/12/29/business/discord-
27 server-social-media.html.
   159
       Super League, An Introductory Look into Discord, https://www.superleague.com/post/an-
28 introductory-look-into-discord.

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13                                         Discord Sign-up Screen
14          142.    While Discord’s Terms of Service prohibit users under 13, Discord does not verify
15   age or identity. As a result, countless Discord users are under 13, many of whom state their real
16   age in their bios, tell other users their real age in chats, and post pictures showing their real age.
17   There are children as young as eight years old using Discord.160
18          143.    Although Discord offers certain safety features, Discord does not default to the
19   highest safety settings upon account creation. For example, by default, all users, including those
20   under 18, can receive direct messages from another user in the same server, allowing them to send
21   and receive private messages from strangers. And even when parents set more restrictive settings,
22   children can simply change those settings to whatever they desire.
23          144.    Certain content on Discord is “age-restricted,” meaning in theory that children under
24 18 cannot access it. Server owners can self-designate specific channels in a server as age-restricted.
25 For years, however, Discord did not allow server owners to self-designate entire servers as age-
26
27
   160
       Kellen Browning, 5 Ways Young People Are Using Discord, N.Y. Times (Dec. 29, 2021),
28 https://www.nytimes.com/2021/12/29/business/discord-users-gen-z.html.

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 1 restricted, and so minors could easily access servers with age-restricted content even if designated
 2 age-restricted channels in the server were blocked. Discord only recently provided server owners
 3 with the ability to self-designate entire servers as age-restricted.
 4          B. Discord Lures Parents into Letting Their Kids Use Discord with Promises of

 5              Safety.
 6          145.    Since its inception, Discord has assured parents that its app provides a safe place for
 7 children to spend their time interacting with others. According to Discord, “in May 2015, Discord
 8 began as a way for us to all play games together, better. And Safer.”161 “We’ve always wanted
 9 Discord to be a place where one could safely play games with friends.”162
10          146.    For years, Discord has promised that it has a “zero-tolerance policy” for anything
11 relating to the sexual exploitation of children. For example, in Discord’s July – September 2022
12 Transparency Report, Discord emphasized that it “has a zero-tolerance policy for anyone who
13 endangers or sexualizes children.”163 Similarly, in a July 2023 website post titled “Discord’s
14 Commitment to Teen and Child Safety,” Discord assured parents that it “has a zero-tolerance policy
15 for inappropriate sexual conduct with children and grooming,” with “special attention given to
16 predatory behaviors such as online enticement and the sexual extortion of children.”164

17          147.    Discord promises parents that its app is different from other communication
18 products when it comes to child safety, assuring parents that “[w]e built Discord to be different and
19 work relentlessly to make it a fun and space for teens.165 “Discord is built on Safety,” and “[s]afety
20 is at the core of everything we do and a primary area of investment as a business.”166
21
22
     161
23       Discord, Discord Safety Boost (Mar. 28, 2017), https://discord.com/blog/discord-safety-boost.
     162
         Id.
24   163
         Discord, Discord Transparency Report: July – September 2022,
     https://discord.com/blog/discord-transparency-report-q3-2022.
25   164
         Discord, Discord’s Commitment to Teen and Child Safety (July 11, 2023),
26   https://discord.com/safety/commitment-to-teen-child-safety.
     165
         Id.
27   166
         Discord, Discord’s Commitment to a Safe and Trusted Experience (May 12, 2022),
     https://discord.com/safety/360043700632-discords-commitment-to-a-safe-and-trusted-experience;
28   https://discord.com/safety/commitment-to-teen-child-safety.
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 1          148.    Discord specifically assures parents that its app is designed to keep children safe
 2 and that it defaults to safety. Discord, for instance, in a website post titled “Settling into School
 3 with Discord,” informs parents that “[m]any teams across Discord work together to ensure that
 4 your teen finds belonging by building products and policies with safety by default.”167 And in a

 5 website post titled “Discord’s Commitment to Teen and Child Safety,” Discord promises parents
 6 that “[w]e make our products safe spaces by design and default. Safety is and will remain part of
 7 Discord’s core experience.”168
 8          149.    Likewise, according to Discord’s 2023 “Parent’s Guide to Discord,” “Discord has
 9 default settings designed to keep minors safe, such as automatically scanning direct messages for
10 explicit images and videos.”169 Those default settings, according to Discord, include “Teen Safety
11 Assist,” which (1) “automatically blur[s] media that may be sensitive in direct messages and group
12 direct messages with friends, as well as in servers,” and (2) sends “safety alerts” to teen users when
13 they receive a direct message from a user for the first time.”170
14          150.    While Discord represents that its app is designed to default to safety, it
15 simultaneously instructs parents on how to change the default safety settings to keep their child
16 safe. For years, Discord has consistently assured parents that they can use the company’s “tools to

17 protect [their children] from inappropriate content or unwanted contact.”171 Discord, for example,
18 tells parents they can turn on an “explicit image filter” that will “[a]utomatically block direct
19
20   167
         Savannah Badalich, Settling into School with Discord, Discord (Sept. 28, 2021),
     https://discord.com/safety/settling-into-school-with-discord.
21   168
         Discord, Discord’s Commitment to a Safe and Trusted Experience (May 12, 2022),
22   https://discord.com/safety/360043700632-discords-commitment-to-a-safe-and-trusted-experience;
     https://discord.com/safety/commitment-to-teen-child-safety.
     169
23       Discord, Parent’s Guide to Discord,
     https://web.archive.org/web/20230714165101/https:/connectsafely.org/wp-
24   content/uploads/2021/09/Parents-Guide-to-Discord.pdf (archived July 14, 2023).
     170
         Savannah Badalich, Building a Safer Place for Teens to Hang Out, Discord (Oct. 24, 2023),
25
     https://discord.com/safety/safer-place-for-teens.
     171
26       Discord, Helping Your Teen Stay Safe on Discord (May 12, 2022),
     https://discord.com/safety/360044153831-helping-your-teen-stay-safe-on-discord; Discord,
27   Helping Your Teen Stay Safe on Discord,
     https://web.archive.org/web/20230711200552/https://discord.com/safety/360044153831-helping-
28   your-teen-stay-safe-on-discord (archived July 11, 2023).
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 1 messages that may contain explicit images.”172 Discord also informs parents that they can disable
 2 the direct message setting that allows anyone in a server to privately message their children.
 3 Discord also promises parents that they can change their child’s “Friend request settings” to limit
 4 who can send them a friend request—i.e., “Everyone,” Friend of friends,” or “Server members.”173

 5          151.   Discord’s CEO and co-founder Eric Citron recently reiterated many these
 6 assurances nearly verbatim in his January 31, 2024 testimony to the U.S. Senate as part of its
 7 hearing on “Big Tech and the Online Child Sexual Exploitation Crisis.” Citron began his written
 8 testimony “by stating clearly that Discord has a zero-tolerance policy for content or conduct that
 9 endangers or sexualizes children.”174 Discord, according to Citron, “has a zero-tolerance policy for
10 inappropriate sexual conduct with children, meaning inappropriate sexual contact between adults
11 and teens on the service, with special attention given to predatory behaviors such as online
12 enticement and the sexual extortion of children, commonly referred to as ‘sextortion.”175
13          152.   He also emphasized Discord’s “multi-pronged approach” to child safety, including
14 the company’s “approach to product development, whereby we implement a rigorous ‘safety by
15 design’ practice when developing products.”176 As Citron elaborated, “[b]ecause safety is critical
16 to our core mission, Discord takes a ‘safety by design’ approach to our work.”177

17          153.   Citron also highlighted Discord’s “sophisticated tools” for parents to keep their
18 children safe, as well as the company’s “features designed to keep teens safe on our platform,” such
19 as Teen Safety Assist, which flags “potentially unwanted conversations to teen users in Discord”
20 and “automatically blur[s] potentially sensitive media to teens in DMs, GMS, and in servers.”178
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22   172
       Discord, Helping Your Teen Stay Safe on Discord,
23 https://web.archive.org/web/20230711200552/https://discord.com/safety/360044153831-helping-
   your-teen-stay-safe-on-discord (archived July 11, 2023).
24 173 Id.
   174
       Hearing Before the U.S. Senate Committee on the Judiciary, Big Tech and the Online Child
25
   Exploitation Crisis, Testimony of Jason Citron, CEO and Co-Founder of Discord Inc. (Jan. 31,
26 2024), https://www.judiciary.senate.gov/imo/media/doc/2024-01-31_-_testimony_-_citron.pdf.
   175
       Id.
27 176 Id.
   177
       Id.
28 178 Id.

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 1             C.     In Reality, Discord Is a Digital and Real-life Nightmare for Children.
 2             154.   Although Discord assures parents that it has zero tolerance for content or conduct
 3 that endangers children and that its app is built on safety, the company, in fact, has created and
 4 maintains an environment in which the sexual exploitation of children is rampant and thriving. The

 5 result has been devastating, with countless children suffering irreversible harm.
 6                        1. Discord hosts and promotes dangerous and illegal sexual content.
 7             155.   Discord is overflowing with sexually explicit images and videos involving children,
 8     including anime and child sex abuse material (“CSAM”)—i.e., child pornography. Discord
 9     provides access to these materials not only to adults but also to child users, creating an ecosystem
10     that facilitates pedophilia and exposes children to this unlawful content.
11             156.   The content of this material is beyond disturbing. For example, numerous Discord
12     servers contain anime images of children being brutally assaulted and raped by male adults.
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25             Examples of images obtained on Discord servers by the National Center on Sexual
                                           Exploitation.179
26
27
     179
           National Center on Sexual Exploitation, Compilation of Proof,
28

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 1          157.   Discord is also permeated with actual child pornography, or CSAM, hosting
 2 hundreds if not thousands of servers dedicated to trading and sharing CSAM. For example, in a
 3 June 2023 article, NBC News reported that “[i]n a review of publicly listed Discord servers created
 4 in the last month,” it “identified 242 that appeared to market sexually explicit content of minors,

 5 using thinly veiled terms like ‘CP’ that refer to child sexual abuse material.”180
 6          158.   Predators themselves even admit that Discord is a go-to app for them for finding
 7 and sharing CSAM. In February 2024, a nonprofit called Protect Children released a report, “Tech
 8 Platforms Used by Online Child Sexual Abuse Offenders,” which contained survey data from
 9 anonymous individuals searching for CSAM on the dark web. That survey revealed that Discord is
10 one of their “top platforms” for searching for, viewing, or sharing CSAM.181 Based on the results
11 of this survey, the report found an “unmistakable overlap” between “the platforms most used for
12 viewing and sharing CSAM and the platforms most popular among children and young people.”182
13          159.   Through numerous well-documented and publicized cases, Discord has long been
14 aware of the proliferation of CSAM and similar material that its app enables and facilitates,
15 including because in some of these cases, Discord reported the material to the National Center for
16 Missing and Exploited Children, which then reported the material to the authorities.

17          160.   From its beginning, Discord has been at the center of numerous criminal cases
18 involving CSAM. According to court documents from a federal case involving a vast CSAM
19 enterprise and conspiracy, between 2016 and 2018, ten men “utilized chatrooms on the online
20 service ‘Discord’—an application designed for online gaming communities that allows users to
21
22
23
   https://endsexualexploitation.org/wp-content/uploads/July-23_Proof-Section-Compilation_-
24 2023DDL_Discord.pdf.
   180
       Ben Goggin, Child Predators Are Using Discord, a Popular App Among Teens, for Sextortion
25
   and Abductions, NBC News (July 21, 2023), https://www.nbcnews.com/tech/social-
26 media/discord-child-safety-social-platform-challenges-rcna89769.
   181
       Protect Children, Tech Platforms Used By Online Child Sexual Abuse Offenders (Feb. 2024),
27 https://bd9606b6-40f8-4128-b03a-
   9282bdcfff0f.usrfiles.com/ugd/bd9606_0d8ae7365a8f4bfc977d8e7aeb2a1e1a.pdf.
28 182 Id.

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 1 engage in text chat and share images and videos—to produce and exchange child pornography.”183
 2 They pled guilty and were sentenced to long prison terms. Similarly, according to court documents
 3 in another case, between 2019 and 2020, a North Carolina man was able to use Discord to chat
 4 about and trade CSAM.184 He pled guilty and was sentenced to 240 months in federal prison.

 5          161.    Similar incidents occurred throughout 2021 and 2022. In 2021, for example, federal
 6 authorities arrested an Idaho man after locating numerous files of CSAM that he had uploaded to
 7 his Discord account.185 And in 2022, a Louisiana man pled guilty to possessing CSAM, admitting
 8 that “he created a Discord account,” that “other Discord users would share CSAM on the website,”
 9 and that he would “upload the saved CSAM from his phone to other Discord users.”186 Several
10 months later, a New York man was arrested for uploading and distributing CSAM using Discord.187
11 And two months later, a University of Florida quarterback was arrested and accused of sharing
12 CSAM on Discord.188 When the man spoke with the police after his arrest, he admitted that he had
13 been on Discord servers that “discuss, solicit, and distribute child sexual abuse material.”189
14          162.    2023 was no different. For example, at the start of the year, a New York man was
15 arrested and charged with creating and sharing CSAM through Discord after a police investigation
16

17   183
         U.S. Dep’t of Justice, Ten Men Sentenced to Prison for Their Roles in a Child Exploitation
18   Enterprise and Conspiracy (Oct. 1, 2020), https://www.justice.gov/opa/pr/ten-men-sentenced-
     prison-their-roles-child-exploitation-enterprise-and-conspiracy.
     184
19       U.S. Dep’t of Justice, Man in Possession of Child Sexual Abuse Material Is Sentence to 20
     Years in Prison (Feb. 17, 2023), https://www.justice.gov/usao-wdnc/pr/man-possession-child-
20   sexual-abuse-material-sentenced-20-years-prison.
     185
         U.S. Dep’t of Justice, Nampa Man Sentenced to 6 Years in Federal Prison Possessing Child
21
     Pornography (Dec. 12, 2023), https://www.justice.gov/usao-id/pr/nampa-man-sentenced-6-years-
22   federal-prison-possessing-child-pornography.
     186
         U.S. Dep’t of Justice, Registered Sex Offender Pleads Guilty to Possession of Child Sex Abuse
23   Material (May 10, 2022), https://www.justice.gov/usao-edla/pr/registered-sex-offender-pleads-
     guilty-possession-child-sexual-abuse-material.
24   187
         News 12 Staff, Prosecutor: Phillipsburg Man Distributed Child Pornography Through
     Discord, News12 The Bronx (Sept. 28, 2022), https://bronx.news12.com/prosecutor-phillipsburg-
25
     man-distributed-child-pornography-through-discord.
     188
26       Tim Stelloh & Antonio Planas, University of Florida Quarterback Arrested and Accused of
     Sharing Child Sexual Abuse Images on Discord, NBC News (Nov. 30, 2022),
27   https://www.nbcnews.com/news/us-news/university-florida-quarterback-arrested-allegedly-
     sharing-child-sexual-rcna59513.
28   189
         Id.
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 1 revealed that he had allegedly instructed a 13-year-old boy to provide images and videos of himself
 2 committing sex acts on a 4-year-old girl.190 The next month, a Vancouver man was found guilty of
 3 numerous charges, including distributing and possessing CSAM, based largely on communications
 4 and videos the man shared on Discord showing the sexual assault of an infant by an adult man.191

 5          163.    These incidents continued throughout 2024. In February, for example, a New Jersey
 6 man was arrested after an investigation revealed that he had uploaded to Discord a file depicting
 7 the sexual exploitation or abuse of minors.192 At the time, the man was employed at a school serving
 8 students as young as five years old. A few months later, an Oklahoma man was arrested and charged
 9 with possessing and distributing CSAM after he shared CSAM on Discord.193 Later that year, a
10 former Indiana firefighter was arrested after police learned he was trading CSAM on Discord.194
11                  2.       Discord provides a hunting ground for child-sex predators.
12          164.         Discord has also created a haven for predators seeking to groom, traffic, and
13    sexually abuse minors by providing predators with endless opportunities for unmitigated
14    interactions with children through public servers, direct messages, and video/voice chat channels.
15          165.         Discord hosts numerous servers that openly operate as spaces where children are
16    sexually exploited by predators. In its June 2023 article on Discord, NBC News reported that it

17    found numerous servers involving adults pretending to be teens to entice children into sharing
18    nude images. NBC News described several servers that explicitly solicited minors to join “not safe
19
20   190
         West New York Man Charged with Child Abuse Material, Hudson Reporter (Jan. 19, 2023),
     https://hudsonreporter.com/news/west-new-york/west-new-york-man-charged-with-child-abuse-
21
     material/.
     191
22       Fox 12 Staff, Washougal Man Gets 108 Years for Child Rape, Creating Child Sex Assault
     Materials, Fox 12 Oregon (Mar. 25, 2023), https://www.kptv.com/2023/03/25/washougal-man-
23   gets-108-years-child-rape-creating-child-sex-assault-materials/.
     192
         Morris County Prosecutor’s Office, Jefferson Resident Arrested for Child Pornography (Feb.
24   16, 2024), https://www.morriscountynj.gov/Departments/Prosecutor/Prosecutor-Press-
     Releases/Jefferson-Resident-Arrested-for-Child-Pornography.
25   193
         Wagoner Man Arrested, Accused of Distributing Child Pornography Over Discord, Fox 23
26   News (June 25, 2024), https://www.fox23.com/news/wagoner-man-arrested-accused-of-
     distributing-child-pornography-over-discord/article_520191ec-333c-11ef-87b7-3bffc2affd71.html.
27   194
         Joe Schroeder, Docs: Ex-Indiana Firefighter Traded Porn on Discord, Dated a 17-year-old,
     Fox 59 (Sept. 4, 2024), https://fox59.com/news/indycrime/docs-ex-indiana-firefighter-traded-
28   child-porn-on-discord-dated-a-17-year-old/.
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 1    for work” communities, including one server that promoted itself on the public server database as
 2    “a community for people between the ages of 13-17. We trade nudes, we do events. Join us for
 3    the best Teen-NSFW experience <3.”195 Another server claimed to accept “little girls 5-17 only”
 4    and had chat channels with titles such as “begging-to-have-sex-chat” and “sexting-chat-with-the-

 5    server-owner.”196 Still another server directly solicited nude images from minors to gain access:
 6    “YOU NEED TO SEND A VERIFICATION PHOTO TO THE OWNER. IT HAS TO BE
 7    NUDE.”197
 8          166.    Other Discord servers are only slightly less obvious. For example, a server called
 9    “Family Hideout” centered on an adult man who called himself “Dad” and built a “family” of
10    children online.198 In this server, which was labeled “Friendly,” “Family,” and “All-Ages,”
11 the man developed relationships with children and encouraged them to take and share nude images.
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21                                Family Hideout server in March 2023.

22          167.    Other servers are more discreet yet are still widely known as places where children

23 are groomed. For instance, a server called “FurWaterSportsAndYiff” was described as “Full of
24
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     195
       Goggin, supra note 180.
27   196
       Id.
   197
       Id.
28 198 National Center on Sexual Exploitation, supra note 179.

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 1 minors, groom hub” by one disgusted reviewer of the server. According to the reviewer, this server
 2 was filled with minors and adults and was “[p]retty much pedophilia at its best.”199
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13                    This server existed on Discord from 2022 through at least April 2023.
14             168.   Through numerous well-documented and publicized cases, Discord has long known
15 that its app enables and facilitates the grooming, trafficking, and sexual abuse of minors. For
16 example, in its June 2023 article, NBC News reviewed publicly available information since Discord

17 was founded and identified 35 cases in the previous six years in which adults were prosecuted on
18 charges of kidnapping, grooming, or sexual assault that involved communications on Discord.200
19 Because these cases were only those that were reported, investigated, and prosecuted during that
20 time, “What we see is only the tip of the iceberg,” explained a child safety advocate.
21             169.   Over the years, countless criminal cases have exposed the critical role that Discord
22 plays in enabling and facilitating grooming and other predatory conduct. In 2022, for instance, an
23 Indiana man pled guilty to sexual exploitation of a minor and possession of CSAM after the FBI
24 discovered that he had engaged in sexually explicit conversations with an 11-year-old girl on
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     199
           Id.
28   200
           Goggin, supra note 180.
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 1 Discord and coerced the girl into sending sexually explicit images of herself.201 The girl later told
 2 police that she communicated with the man via chats, video calls, and voice calls on Discord. Later
 3 that year, an Oregan man was federally charged with child exploitation crimes following an
 4 investigation that found he had “pretended to be an Oregon teenager to convince the child to engage

 5 in sexually explicit acts during a video chat on Discord.”202
 6          170.    Similar cases were brought throughout 2023 and 2024. In March 2023, for example,
 7 a man was charged after he allegedly had a sexually explicit conversation with a 14-year-old girl
 8 and shared CSAM with her—all on Discord.203 At the time, the man was a middle-school science
 9 teacher and had engaged in this conduct at the school where he was employed. And in 2024, a
10 South Carolina man was sentenced to 20 years in federal prison after he pled guilty to numerous
11 crimes he committed against children on Discord, including coercing minor girls into performing
12 livestream sexual acts for him in a Discord call that he recorded.204 The man also made repeated
13 threats to the girls and their families, and one of the girls attempted suicide because of this abuse.
14          171.    Discord has also been at the center of numerous cases involving the kidnapping and
15 sexual assault of minors. For example, in 2021, a Virgina man was arrested and charged with
16 sexually exploiting and kidnapping a 12-year-old girl from her home in California.205 According

17
18   201
       Phyllis Cha, Marion County Corrections Employee Fired, Arrested Over Sexually Explicit
19 Images to Girl, IndyStar (Sept. 7, 2022),
   https://www.indystar.com/story/news/crime/2022/09/07/corrections-officer-marion-county-
20 employee-sexually-explicit-messages-to-child/65781240007/.
   202
       U.S. Dep’t of Justice, Oregon Man Charged with Sexually Exploiting Minor on Discord,
21
   Additional Victims Sought (Oct. 3, 2022), https://www.justice.gov/usao-or/pr/oregon-man-
22 charged-sexually-exploiting-minor-discord-additional-victims-sought.
   203
       NJ Teacher Charged After “Sexually Explicit Conversation” with Teen, New Jersey 101.5
23 (Mar. 3, 2023), https://nj1015.com/nj-teacher-charged-after-sexually-explicit-conversation-with-
   teen/.
24 204 Alan Hovorka, Lowcountry US Army Member Who Groomed Girls, Recorded Child Porn on
   Discord Sentenced to Prison, Post & Courier (Aug. 3, 2024),
25
   https://www.postandcourier.com/news/evan-bucci-child-porn-discord-grooming/article_09cf85ce-
26 50dc-11ef-84b2-7b7358023542.html.
   205
       Dan Morse, With Children Stuck at Home During Coronavirus Shutdowns, Online Sexual
27 Predators Can Swoop In, Wash. Post (Feb. 12, 2023),
   https://www.washingtonpost.com/local/public-safety/coronavirus-lockdown-child-
28 exploitation/2021/02/04/90add6a6-462a-11eb-a277-49a6d1f9dff1_story.html.

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 1 to court documents, the man met and groomed the girl on Discord, flew to California and picked
 2 her up at her house at 2:30 a.m., and was arrested at the Denver airport during a layover.
 3          172.   Similarly, in February 2023, a Michigan man was arrested and charged with
 4 kidnapping a 14-year-old Washington girl whom he had met and groomed on Discord.206 The next

 5 month, a North Carolina man was arrested and charged with rape, child abduction, and human
 6 trafficking after police rescued a 13-year-old from a locked shed behind his house.207 According to
 7 the girl’s mother, the man had been communicating with her daughter for months on Discord before
 8 he abducted her from her home in Dallas.
 9          173.   2024 brought more of the same. In February, a Texas man was charged with human
10 trafficking and sexual assault of a 16-year-old girl whom he met and communicated with on
11 Discord.208 The girl told police that the man picked her up in Kansas and brought her to his
12 apartment in Texas, where they had sex multiple times. A few months later, a North Carolina man
13 was charged with kidnapping and raping a 12-year-old girl he had met on Discord.209 Around the
14 same time, a Pennsylvania man was arrested and charged with multiple offenses, including rape of
15 a child and indecent assault of a person less than 13 years of age.210 The police investigation
16

17
18   206
       Ruth Bashinsky, Washington State Girl, 14, Who Went Missing with “Man She met on
19 Discord” Near Notorious Sex Trafficking Corridor FOUND: Michigan Man Arrested over
   Kidnapping, Daily Mail (Feb. 1, 2024), https://www.dailymail.co.uk/news/article-
20 13034633/washington-state-girl-missing-discord-sex-trafficking-michigan.html.
   207
       Peter Charalambous & Alexandra Faul, Missing 13-year-old Rescued from Locked North
21
   Carolina Shed, ABC News (Mar. 14, 2023, https://abcnews.go.com/US/missing-13-year-rescued-
22 locked-north-carolina-shed/story?id=97830147.
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       Brittany Eubank, Man and His Mother Charged After Missing Kansas Teen Found Safe in
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   trafficking-sexual-assault-missing-kansas-teen/269-361c25e3-12a8-4ec4-8779-0f962c12e8d1.
24 209 “Under 13 Is Under 13”: Judge Responds to Attorney’s Claim That Man Charged with
   Kidnapping & Rape Believed 12-year-old Girl Was College Student, WRAL News (Apr. 16,
25
   2024), https://www.wral.com/story/under-13-is-under-13-judge-responds-to-attorney-s-claims-
26 that-man-charged-with-kidnapping-rape-believed-12-year-old-girl-was-col/21381250/.
   210
       Keith Heffintrayer, Four Men Arrested Following Investigation into Sexual Abuse of 12-year-
27 old Boy in Upper Gwynedd, NorthPennNow (Apr. 15, 2024),
   https://northpennnow.com/news/2024/apr/15/four-men-arrested-following-investigation-into-
28 sexual-abuse-of-12-year-old-boy-in-upper-gwynedd-police-say/.

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 1 revealed that the man was communicating with the 12-year-old boy on Discord, which included
 2 sexual conversations and making plans to meet.
 3          174.    Despite Discord’s repeated assurances to parents that it has a “zero tolerance” policy
 4 for the criminal acts described above and that its product is built on safety, the rampant sexual

 5 exploitation of children on Discord has gotten only worse over the years—not better. John Shehan,
 6 the Senior Vice President of the National Center for Missing and Exploited Children, emphasized
 7 that his organization has seen “explosive growth” in CSAM and exploitation on Discord.211 “There
 8 is a child exploitation issue on the platform. That’s undeniable,” he stated.
 9          175.    Indeed, for four consecutive years, the National Center on Sexual Exploitation
10 (“NCSE”) has named Discord to its “Dirty Dozen” list (which also includes Roblox, as discussed
11 above). As NCSE put it, “Discord enables exploiters to easily contact and groom children,” and
12 predators “take advantage of Discord’s dangerous designs to entice children into sending sexually
13 explicit images of themselves.212
14          176.    Discord itself confirms that this criminal conduct that it enables has only become
15 more pervasive. Discord, for example, revealed that in the fourth quarter of 2023, it received
16 416,036 reports from users regarding “Child Safety” issues, which includes CSAM.213 By the next

17 quarter, that number had grown to 1,035,166—a roughly 150% increase.214
18              4. Roblox and Discord work in tandem to facilitate child sexual exploitation.
19           177. Roblox and Discord serve as the preferred apps for predators seeking to identify and
20 then sexually exploit children. As explained above, the tried-and-true playbook these predators
21 follow is to misrepresent their age on Roblox to child users, pretending to be a fellow child, befriend
22 the vulnerable young victims, and then manipulate the children to move the conversation off
23
24   211
         Goggin, supra note 180.
     212
         National Center on Sexual Exploitation, supra note 58.
25   213
         Discord, Discord Transparency Report: January – March 2023, https://cdn.prod.website-
26   files.com/625fe439fb70a9d901e138ab/64b16dade9ba30617e30a40a_Q1%2023%20%7C%20Disc
     ord%20Transparency%20Report_%20JANUARY%20-%20MARCH%202023.pdf.
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28   4%20Transparency%20Report.pdf.
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 1 Roblox to Discord, where they coerce the children into sending sexually explicit images or into
 2 meeting in person so they can sexually abuse them.
 3           178. Roblox and Discord designed their apps to work together seamlessly. As described
 4 above, Roblox encourages users to communicate on Discord by allowing links to Discord servers

 5 and channels to be displayed on game or group pages and by permitting users to include their
 6 Discord usernames in their Roblox profiles. Discord, for its part, enables users to link their Roblox
 7 accounts to their Discord accounts.215 Their “activity status” on Discord then shows other users,
 8 including predators, when they are playing Roblox and what game they are playing. On Discord,
 9 users can also send other users the codes for Robux gift cards to redeem on Roblox.
10          179.   Through numerous media reports and well publicized criminal cases, Roblox and
11 Discord have long known that their apps jointly enable predators to systematically harm children.
12 For example, in 2019, a Florida man was arrested after law enforcement learned that he was using
13 Roblox and Discord to target children.216 According to authorities, the man targeted children
14 between ages 10 and 12 on Roblox and then coerced them on Discord into sending sexually explicit
15 images of themselves in exchange for Robux.
16          180.   Similarly, in January 2022, a Florida man was arrested following a lengthy

17 investigation that revealed that he posed as a teen girl on Roblox to meet a 13-year-old boy and
18 then convinced to boy to send him sexually explicit images on Discord in exchange for Robux.217
19 Later that year, an Arizona man was arrested for kidnapping a 13-year-old boy he met on Roblox.218
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21   215
         YouTube, How to Link Roblox to Discord (2025),
22   https://www.youtube.com/watch?v=80ZEwlgecDM.
     216
         Max Chesnes, Deputies Say Vero Beach Man Used Popular Video Game Platforms to Target
23   Children, TCPalm (Aug. 20, 2019), https://www.tcpalm.com/story/news/crime/indian-river-
     county/2019/08/20/detectives-advise-online-safety-after-vero-beach-man-used-video-game-
24   platforms-target-minors/2059599001/.
     217
         Irene Wright, Man Blackmailed Teen Boy as He Posed as Girl on Roblox and Discord, Florida
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     Cops Say, Miami Herald (Aug. 11, 2023),
26   https://www.miamiherald.com/news/state/florida/article278172607.html.
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         Jerry Lambe, Arizona Man Allegedly Kidnapped a Buy He Lured from Discord. Police Say
27   They Rescued the Victim Thanks to an “Alert Gas Station Attendant,” Law & Crime (Dec. 29,
     2022), https://lawandcrime.com/crime/arizona-man-allegedly-kidnapped-a-boy-he-lured-from-
28   discord-police-say-they-rescued-the-victim-thanks-to-an-alert-gas-station-attendant/.
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 1 According to police, the man sent sexual and inappropriate messages on Roblox to the boy and
 2 then invited him to join a Discord chat, where the man arranged to pick the boy up from his house.
 3          181.   These real-life nightmares occurred repeatedly throughout last year. In November
 4 2024, for example, the FBI arrested a Michigan man and charged him with numerous crimes related

 5 to his sexual exploitation of possibly over 100 children.219 The man told law enforcement that “he
 6 used Roblox to talk to others sexually, some of whom he allegedly knew were children,” and then
 7 transitioned the conversations to Discord and coerced the children into sending nude images.220
 8          182.   And in January this year, a Louisiana man was arrested and federally charged for
 9 sexually exploiting a teenage girl through Roblox and Discord.221 According to arrest records, the
10 man “began communicating with her on Roblox, before transitioning her to Discord,” where he
11 coerced her into sending sexually explicit images of herself.222
12          D.     Discord Knowingly Causes and Facilitates the Sexual Exploitation of Children.
13          183.   Like Roblox, Discord is overrun with harmful content and predators because the
14 company prioritizes growth, revenue, and eventual profits over child safety. For years, Discord has
15 knowingly prioritized these numbers over the safety of children through the actions it has taken
16 and decisions it has made to increase and monetize users regardless of the consequences.

17                     1. Discord prioritizes growth over the safety of children.
18          184.   Although Discord began as a communications app for gamers, its co-founders Eric
19 Citron and Stanislav Vishnevskiy soon realized that Discord appealed to a much broader audience
20 and sought to expand its user base. “We saw an opportunity to make communications easier for
21
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23
   219
       Samantha Sayles, Monroe County Man Uses Roblox, Discord, Snapchat to Sexually Assault
24 Children, ClickOnDetroit (Nov. 15, 2024),
   https://www.clickondetroit.com/news/local/2024/11/15/monroe-county-man-uses-roblox-discord-
25
   snapchat-to-sexually-exploit-children/.
   220
26     Id.
   221
       WAFB Staff, Man Accused of Internet Sex Crimes Allegedly Met Victims on Roblox, Discord,
27 WAFB (Jan. 31, 2025), https://www.wafb.com/2025/01/31/man-accused-internet-child-sex-
   crimes-allegedly-met-victims-roblox-discord/.
28 222 Id.

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 1 everyone, not just gamers,” Citron explained.223 So the company changed its motto from “Chat for
 2 gamers” to “A new way to chat with your communities and friends” and became hyper-focused on
 3 transforming into a universal communication product.224
 4          185.    Discord has since grown exponentially. In 2019, the company had 56 million

 5 monthly active users.225 But with Discord’s shift away from gaming in 2020, combined with its
 6 pandemic-driven explosion in popularity among young users, the company grew its monthly active
 7 users to 150 million by 2022.226 Today, Discord boasts over 200 million monthly active users.227
 8          186.    As Discord has grown, private investors have poured money into the company. In
 9 June 2020, Discord raised $100 million at a $3.4 billion dollar valuation.228 Just five months later,
10 the company raised another $100 million at more than double the valuation ($6.90 billion).229 In
11 early 2021, Discord rebuffed an acquisition offer from Microsoft of at least $10 billion.230 Later
12 that year, it raised another $500 million at a staggering valuation of $14.5 billion.231 While Discord
13 has remained privately held so far, the company is expected to go public this year.232
14          187.    A primary reason for investors’ interest in Discord is its user growth, putting
15 enormous pressure on the company to prioritize growing its users above all else. Growing its users
16

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     223
18       Nathan Latka, Discord’s $879M Revenue: 25 Moves to $25B Valuation, LATKA-B2B Saas
     Blog (Jan. 15, 2025), https://blog.getlatka.com/discord-revenue/.
     224
19       Kellen Browning, How Discord, Born from an Obscure Game, Became a Social Hub for Young
     People, N.Y. Times (Dec. 29, 2021), https://www.nytimes.com/2021/12/29/business/discord-
20   server-social-media.html.
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         HelpLama, Discord Revenue and Usage Statistics 2025, https://helplama.com/discord-
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     statistics/.
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22       Id.
     227
         Podcast Transcript, Discord CEO Jason Citron Makes the Case for a Smaller, More Private
23   Internet, The Verge (Apr. 22, 2024), https://www.theverge.com/24134914/discord-ceo-gaming-
     chat-teens-safety-moderation-decoder-interview.
24   228
         Equitybee, Discord Funding History,
     https://equitybee.com/companies/company?company=discord (last visited Feb. 11, 2025).
25   229
         Id.
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26       Sarah E. Needleman, Discord Ends Deal Talks with Microsoft, Wall. St. J. (Apr. 20, 2021),
     https://www.wsj.com/articles/discord-ends-deal-talks-with-microsoft-11618938806.
27   231
         Id.
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         Chris Morris, These Are the Most Anticipated IPOs to Watch in 2025, FastCompany (Dec. 30,
28   2024), https://www.fastcompany.com/91243719/most-anticipated-ipos-to-watch-in-2025.
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 1 is critical to the company’s revenue and future profitability. Discord generates most of its revenue
 2 from its subscription service called Nitro, which provides users with benefits such as custom
 3 emojis, unlimited “super reactions,” and HD video streaming. As the company expanded its user
 4 base, its revenue skyrocketed from $150 million in 2020 to $600 million in 2024.233 And while for

 5 years Discord shunned advertising on its app, the company recently started selling advertisements
 6 to boost revenue by capitalizing on its massive and growing user base.234
 7          188.    Discord’s growth strategy has focused on a user-centric approach that prioritizes
 8 user preferences over child safety. As Discord CEO and co-founder Eric Citron put it, “We focus
 9 on what our users love, and that drives everything we do.”235 In practice, that has resulted in Discord
10 elevating the privacy of its users over protecting children in order to attract as many users to its app
11 as possible. For example, Discord continues to allow people to chat using fake names and does not
12 require individuals to enter their real names when registering for an account, ensuring that predators
13 will continue to flock to Discord because they can remain anonymous.
14          189.    Discord even prioritizes user privacy over child safety with a feature it recently
15 added to supposedly allow parents to monitor their children’s Discord use. In 2023, Discord created
16 its “Family Center for Parents and Guardians”—a “completely opt-in feature” that is “not

17 mandatory for teens.”236 While this feature permits parents to monitor some of their children’s
18 activity on Discord, it prohibits parents from accessing the most important information on their
19 accounts—the contents of their messages. As Discord tells children, “We value your privacy which
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22   233
       Salvatore Rodriguez & Sarah E. Needleman, Discord to Start Showing Ads for Gamers to
23 Boost Revenue, Wall St. J. (Mar. 30, 2024), https://www.wsj.com/tech/discord-to-start-showing-
   ads-for-gamers-to-boost-revenue-bf5848b9.
24 234 Equitybee, Discord Funding History,
   https://equitybee.com/companies/company?company=discord (last visited Feb. 11, 2025).
25 235
       Nathan Latka, Discord’s $879M Revenue: 25 Moves to $25B Valuation, LATKA-B2B Saas
26 Blog (Jan. 15, 2025), https://blog.getlatka.com/discord-revenue/.
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       Discord, What Is Family Center?, https://support.discord.com/hc/en-
27 us/articles/14155039712407-What-is-Family-
   Center#:~:text=We%20value%20your%20privacy%20which,names%2C%20server%20icons%2C
28 %20and%20member (last visited Feb. 11, 2025).

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 1 is why connected accounts will not have access to the contents of your messages.”237 Discord also
 2 assures children that, with Family Center, “you have control over whether or not you use this
 3 feature, how long you want to use it for, and who you connect your account to.”238 By putting
 4 children in charge of this parental feature, Discord seeks to preserve growth of this key

 5 demographic.
 6          190.   In pursuit of growth, Discord has also chosen not to implement easy measures that
 7 would protect children but stunt user growth, such as age verification to ensure that children under
 8 13 cannot create accounts and that adults cannot misrepresent their age to children.
 9          191.   Discord has also fought attempts to be held publicly accountable for the sexual
10 exploitation of children that its app enables. In November 2023, Discord’s CEO and co-founder
11 Eric Citron refused to accept service of a subpoena to testify before the U.S. Senate as part of its
12 hearing on “Big Tech and the Online Child Sexual Exploitation Crisis.”239 Citron appeared at the
13 hearing only after the Senate was forced to enlist the U.S. Marshals Service to personally subpoena
14 him—a situation the Senate called “a remarkable departure from typical practice.”240
15          192.   The National Center for Missing and Exploited Children, which internet companies
16 are by law required to report instances of child sex abuse to, also reported issues working with

17 Discord and had to rescind an invitation to become part of its Cybertipline Roundtable when the
18 company failed to “identify a senior child safety representative to attend.”241 “It was really
19 questionable, their commitment to what they’re doing on the child exploitation front,” stated John
20 Shehan, the Senior Vice President of the National Center for Missing and Exploited Children.242
21
22
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24   237
         Id.
     238
         Id.
25   239
         Senate Panel Forced to Use U.S. Marshals to Subpoena CEOs of X and Discord to Testify on
26   Protecting Kids Online, CBS News (Nov. 21, 2023), https://www.cbsnews.com/news/senate-
     panel-us-marshals-subpoenas-ceos-x-discord/.
27   240
         Id.
     241
         Goggin, supra note 180.
28   242
         Id.
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 1              2. Discord facilitates child sexual exploitation through the design of its app,
 2                  inadequate safety features, and refusal to invest in basic safety protections.
 3          193.    Discord’s pursuit of growth over child safety is reflected in numerous actions it took
 4 and decisions it made related to the design and safety of its app. Had Discord acted differently, the

 5 harm suffered by countless children would not have occurred.
 6          194.    Discord designed its app so that anyone can easily communicate with children,
 7 creating a virtual world where predators can freely target and sexually exploit children. Despite its
 8 repeated assurances to parents that its app “defaults” to safety for child accounts, Discord, in fact,
 9 designed its app to default to settings that facilitate the sexual exploitation of children.
10          195.    Discord, for example, defaults to settings that allow predators to send direct
11 messages to children. Predators often identify and target children by joining servers that are
12 populated with kids. By default, Discord allows any two people who share a server to direct
13 message each other, providing predators with an easy means of contacting and communicating with
14 children. Predators also often initiate contact with children by adding a child as a “friend” on
15 Discord so they can direct message them. By default, Discord permits children to receive friend
16 requests from “Everyone,” meaning children can receive and accept friend requests from

17 individuals whom they do not know and with whom they have no connection.
18          196.    For years, Discord also defaulted to settings that enabled predators to send children
19 sexually explicit images via direct messages. In 2017, for example, Discord introduced “Safe Direct
20 Messaging.” This feature contained three options, including “Keep me safe,” which supposedly
21 would automatically scan and delete messages that a child received containing explicit content.
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12            Discord’s description of the categories of its Safe Direct Messaging feature.243
13          197.   Consistent with Discord’s “default to safety” promise, the company long
14 represented that the “Keep me safe” option was on by default. In fact, though, Discord defaulted
15 not to this most restrictive setting but to the lower setting of “My friends are nice,” which meant
16 that Discord would not scan any images from a child’s “friend”—which could be anyone.

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21                 Discord’s “Age-Restricted Content on Discord” webpage in 2022.244
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25   243
       Discord, Discord Safety: Safe Messaging!,
26 https://web.archive.org/web/20210203000438/https://support.discord.com/hc/en-
   us/articles/115000068672-Discord-Safety-Safe-Messaging- (archived Feb. 3, 2021).
27 244 Discord, Age-Restricted Content on Discord,
   https://web.archive.org/web/20220406085122mp_/https://discord.com/safety/360043653552-Age-
28 Restricted-Content-on-Discord (archived Apr. 6, 2022) (emphasis added).

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 1           198.    Discord later changed the labels of this feature from “Keep me safe” to “Filter all
 2    direct messages” and from “My friends are nice” to “Filter direct messages from non-friends.”245
 3    But it continued to default to the less restrictive setting: “By default, these filters are set to ‘Filter
 4    direct messages from non-friends.’ Choose ‘Filter all direct messages’ if you want all direct

 5    messages you receive to be filtered, or select ‘Do not filter direct messages’ to turn these filters
 6    off.”246
 7           199.    Although parents can change Discord’s permissive default settings to more
 8    restrictive ones, that option is meaningless because Discord enables children to modify these
 9    safety settings without parental approval. So a parent might modify the default settings so that
10    their child cannot exchange direct messages with other server members or cannot receive friend
11    requests from “Everyone,” only to have their child simply change those settings to allow these
12    unfettered interactions. As Discord puts it, “[o]ur product architecture provides each user with
13    fundamental control over their experience on Discord including who they communicate with, what
14    content they see, and what communities they join or create.”247 By doing so, Discord strips parents
15    of basic protective options that would prevent adult strangers from targeting and exploiting their
16    children. As one parent explained in calling Discord an “EXTREMELY dangerous app,” Discord

17    does not provide “any way for parents to set settings that can’t simply be undone by kids.”248
18           200.    Discord also refused to implement other simple measures that would have protected
19 children using its product. For example, despite having the ability to do so, Discord does not require
20 users to verify their age and identify when creating an account. Doing so would have prevented
21 predators from creating fake profiles and pretending to be children, which is their preferred
22 approach in targeting children and convincing them to share sexually explicit images.
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25   245
       Discord, Helping Your Teen Stay Safe on Discord,
26 https://web.archive.org/web/20230711200552/https://discord.com/safety/360044153831-helping-
   your-teen-stay-safe-on-discord (archived July 11, 2023).
27 246 Id.
   247
       Discord, Discord Parent Hub, https://discord.com/safety-parents (last visited Feb. 11, 2025).
28 248 National Center on Sexual Exploitation, supra note 179.

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 1          201.   Age and identity verification would also have prevented individuals under 13 from
 2 creating accounts on Discord. In many of the criminal cases involving the sexual exploitation of
 3 children on Discord, the children were under the age of 13. By requiring ID verification during the
 4 account sign-up process—a practice that other online products employ—Discord could have easily

 5 prevented these children from even using its app. But it chose not to, despite knowing for years
 6 that children under 13 operate freely on its environment and are targeted by predators.
 7          202.   Despite these glaring failures, Discord constantly promotes its technology-focused
 8 “safety solutions” including its “AI-powered moderation systems.”249 But this technology has
 9 proven grossly inadequate and insufficient to protect children from sexual exploitation. For
10 instance, Discord’s Teen Safety Assist feature, which it introduced in October 2023, is supposed to
11 “automatically blur media that may be sensitive in direct messages and group direct messages with
12 friends, as well as in servers,” and send “safety alerts” to teen users when they receive a direct
13 message from a user for the first time.”250 Yet this feature is “utterly defective,” according to the
14 National Center on Child Exploitation.251 As part of its annual investigation into Discord, “NCOSE
15 researchers were able to send sexually explicit content from an adult account to an unconnected
16 13-year-old account, and no warning or resources were displayed.”252

17          203.   Discord is also famously slow and ineffective at responding to child-safety issues.
18 One mother, for example, told CNN that Discord essentially refused to help her after she reported
19 that a man had communicated with her 10-year-old daughter and sent her links to pornography.253
20 Following the mother’s report, Discord sent her an automated message asking for “the message
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24   249
         Discord, Discord’s Commitment to Teen and Child Safety (July 11, 2023),
     https://discord.com/safety/commitment-to-teen-child-safety.
25   250
         Savannah Badalich, Building a Safer Place for Teens to Hang Out, Discord (Oct. 24, 2023),
26   https://discord.com/safety/safer-place-for-teens.
     251
         National Center on Sexual Exploitation, supra note 58.
27   252
         Id.
     253
         Samantha Murphy Kelly, The Dark Side of Discord for Teens, CNN Business (Mar. 22, 2022),
28   https://www.cnn.com/2022/03/22/tech/discord-teens/index.html.
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 1 links to the reported content for the team to review and take appropriate action.”254 After the mother
 2 sent the requested links, Discord never responded. “There was no help at all,” she said.255
 3          204.   Child protection groups have also repeatedly highlighted flaws in Discord’s
 4 approach to child safety. For example, Denton Howard, executive director of Inhope, an

 5 organization of missing and exploited children hotlines from around the world, has flagged
 6 numerous problems with Discord’s approach to child safety, including “slow response times to
 7 reports, communications issues when [child protection] hotlines tried to reach out, hotlines
 8 receiving account warnings when they try to report CSAM, the continued hosting of communities
 9 that trade and create CSAM, and evidence disappearing before hearing back from Discord.”256
10   VI.    PLAINTIFF-SPECIFIC ALLEGATIONS
11          205.    Plaintiff is a 16-year-old girl who is remarkably intelligent. She used to excel in
12 school and was once passionate about drawing and the arts. But that all changed a few years ago.
13 When she was barely a teenager, she was horrifically and traumatically sexually exploited and
14 abused by predators through Defendants’ dangerous apps, which enabled and facilitated these
15 crimes. As the result of Defendants’ reckless disregard for child safety, Plaintiff has suffered
16 devastating and life-altering psychological trauma. Her life will never be the same.

17          206.   In 2019, when Plaintiff was 10 years old, she created a Roblox account and spent
18 extensive amounts of time on the app.
19          207.   Plaintiff’s mother disabled chat settings on Plaintiff’s account due to fears about
20 online interactions, but those efforts were futile. Plaintiff’s mother was unaware of Roblox’s
21 disregard for child safety and its empty promises about the effectiveness of these safety features.
22          208.   Throughout her use of Roblox, Plaintiff was repeatedly exposed to dangerous
23 situations. On one occasion, she joined a chatroom on Roblox that was occupied by 25-50 people
24 and was freely open to Plaintiff to join. While Plaintiff was in this chatroom, random users started
25 to list her Internet Protocol address and physical home address while simultaneously demanding
26
27   254
       Id.
     255
       Id.
28 256 Goggin, supra note 180.

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 1 nude photographs of her. These violations of trust and threats to her sense of physical safety began
 2 the deterioration of her mental health, causing Plaintiff unparalleled anxiety and unrelenting fear.
 3            209.   As time progressed, Plaintiff’s online activities expanded to Discord, where she
 4 unknowingly communicated with more predators. One individual whom she had met on Roblox

 5 begged her for her username on Discord and threatened that he would harm himself if she did not
 6 comply with his demand. Faced with an untenable situation, she obliged the person, who then sent
 7 her an image file that depicted a person shooting themselves in the head.
 8            210.   Plaintiff was repeatedly sent sexually explicit images by predators on Discord and
 9 was coerced into sending CSAM of herself to predators on Discord—precisely the type of
10 exploitation that Discord has known about and enabled for years.
11            211.   Plaintiff then sought guidance from an online counselor whom she initially met on
12 Roblox in a chatroom called “The Garisson”—a Roblox community described as “a warm and
13 friendly atmosphere that’s both inviting and relaxing.”257 She continued communicating with him
14 on Discord, believing she was confiding in someone trustworthy. Unbeknownst to her, this
15 individual was not an online counselor, but a predator who had been grooming her with the
16 intention of having in-person, unlawful sexual contact with her.

17            212.   Through their interactions on Defendants’ apps, the predator convinced Plaintiff to
18 send him CSAM of herself, and he sent Plaintiff sexually explicit images of himself.
19            213.   This abuse escalated to a situation that is every parent’s worst nightmare: an in-
20 person meeting in the fall of 2024 when the predator traveled to Plaintiff’s house and, unbeknownst
21 to Plaintiff’s parents, slept in her room with her. The next day, the predator had vaginal sexual
22 intercourse with Plaintiff and recorded the sexual acts on his cellular device.
23            214.   Soon thereafter, Plaintiff’s mother saw Plaintiff walking on the street with an
24 unknown adult male—the same man who had sex with Plaintiff—which resulted in an extensive
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     257
28         Roblox, The Garrison, https://www.roblox.com/communities/13151234/The-Garrison#!/about.

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 1 criminal investigation. Through the investigation, detectives uncovered digital evidence on the
 2 predator’s phone of his sexual interactions with Plaintiff, and an arrest warrant was issued.
 3          215.    As part of this investigation, Plaintiff was required to undergo a traumatizing
 4 forensic interview during which she was forced to relive her experience of victimization.

 5          216.    As the result of the sexual exploitation and abuse Plaintiff experienced because of
 6 Defendants’ unsafe and defectively designed apps, Plaintiff has suffered, and continues to suffer,
 7 significant emotional turmoil manifesting as anxiety and distrust. Her academic performance has
 8 declined dramatically, and she has faced significant challenges with social interactions, feeling
 9 isolated and unwilling to engage with her peers. Once vibrant in her artistic pursuits, Plaintiff now
10 feels lonely and betrayed as she tries to navigate the psychological impact of her abuse.
11          217.    Plaintiff has required psychological intervention, and she continues to grapple with
12 anxiety, moments of disassociation, and excessive doubts regarding her future in radiology, which
13 she once found promising. She has endured, and continues to endure, immense humiliation, shame,
14 constant and paralyzing fear, and a profound loss of trust, safety, and innocence.
15 VII.     CAUSES OF ACTION
16                                     FIRST CAUSE OF ACTION

17                                 FRAUDULENT CONCEALMENT
18                                (By Plaintiff Against Each Defendant)
19          218.    Plaintiff incorporates each and every factual allegation set forth above.
20          219.    This claim is brought against Defendants Roblox and Discord.
21          220.    As set forth in more detail above, each Defendant knew about the defective
22 conditions of its app and that the app posed serious safety risks to child users.
23          221.    Each Defendant was under a duty to tell the public the truth and to disclose the
24 defective conditions of its app and that the app posed serious safety risks to child users.
25          222.    Each Defendant breached its duty to the public, users, and their parents by
26 concealing and failing to disclose the serious safety risks presented by its app. Even though
27 Defendants knew of those risks based on Defendants’ internal reviews, external studies known to

28 Defendants, and parent and police reports made to Defendants, they intentionally concealed those

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 1 risks to not lose users and revenue, and to induce parents to allow their children to use Defendants’
 2 apps.
 3          223.    Each Defendant intentionally failed to disclose the serious safety risks posed by the
 4 design of its app to the public, users, and their parents, including Plaintiff’s mother. Such risks

 5 were known only to Defendants through their internal reviews and external studies known to
 6 Defendants, as well as parent and police reporting to Defendants, and the public, users, and their
 7 parents, including Plaintiff’s mother, could not have discovered such serious safety risks.
 8          224.    The public, users, and their parents, including Plaintiff’s mother, did not know of
 9 the serious safety risks posed by the design of Defendants’ apps, which were known by Defendants.
10          225.    By intentionally concealing and failing to disclose defects inherent in the design of
11 their apps, each Defendant knowingly and recklessly misled the public, users, and their parents,
12 including Plaintiff’s mother, into believing its app was safe for children to use.
13          226.    Each Defendant knew that its concealment and/or omissions were material. A
14 reasonable person, including Plaintiff’s mother, would find information about the risk of grooming,
15 sexual abuse, sexual exploitation, and other serious risks associated with the use of Defendants’
16 respective apps, to be important when deciding whether to allow children to use them.

17          227.    Each Defendant intended to deceive the public, users, and their parents, including
18 Plaintiff’s mother, by concealing the defects in the design of its app, which made the app unsafe.
19          228.    As a direct and proximate result of each Defendant’s concealment of material
20 information, Plaintiff’s mother was not aware and could not have been aware of the facts that each
21 Defendant concealed, and therefore justifiably and reasonably believed that each Defendant’s app
22 was safe for children to use.
23          229.    If the serious safety risks presented by the design of each Defendant’s app had been
24 disclosed, the public, users, and their parents, including Plaintiff’s mother, reasonably would have
25 acted differently and/or would have not permitted children to use the apps.
26          230.    As a direct and proximate result of each Defendant’s concealment of material
27 information, Plaintiff sustained serious injuries and harm.

28          231.    Defendants’ concealment was a substantial factor in causing harm to Plaintiff.

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 1          232.    Each Defendant’s conduct, as described above, was intentional, fraudulent, willful,
 2 wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and displayed an
 3 entire want of care and a conscious and depraved indifference to the consequences of its conduct,
 4 including to the health, safety, and welfare of its customers, and warrants an award of punitive

 5 damages in an amount sufficient to punish Defendants and deter others from like conduct.
 6          233.    Plaintiff demands judgment against each Defendant for compensatory and punitive
 7 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court
 8 deems proper.
 9                                   SECOND CAUSE OF ACTION
10                                    NEGLIGENCE – GENERAL
11                                (By Plaintiff Against Each Defendant)
12          234.    Plaintiff incorporates each and every factual allegation set forth above.
13          235.    This claim is brought against Defendants Roblox and Discord.
14          236.    At all relevant times, each Defendant developed, set up, managed, maintained,
15 operated, marketed, advertised, promoted, supervised, controlled, and benefited from its respective
16 app used by Plaintiff.

17          237.    Each Defendant owed Plaintiff a duty to exercise reasonable care in the
18 development, setup, management, maintenance, operation, marketing, advertising, promotion,
19 supervision, and control of its app and not to create an unreasonable risk of harm from and in the
20 use of its app (including an unreasonable risk of grooming, sexual abuse, and sexual exploitation,
21 and other associated physical or mental injuries); to protect Plaintiff from unreasonable risk of
22 injury from and in the use of its app; and not to invite, encourage, or facilitate youth, such as
23 Plaintiff, to foreseeably engage in dangerous or risky behavior through, on, or as a reasonably
24 foreseeable result of using its app. These duties govern Defendants’ own specific actions and are
25 based on direct actions Defendants took in developing their apps and features.
26          238.    In addition, each Defendant owed a special relationship duty to Plaintiff to protect
27 her against harm caused by its app and employees or by other users. This special relationship duty

28 is based on the following:

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 1               a. As businesses, Defendants owe a duty to protect customers against reasonably
 2                  foreseeable criminal acts of third parties and other dangers known to Defendants
 3                  on their apps;
 4               b. Plaintiff, as a minor, was vulnerable and dependent on Defendants for a safe

 5                  environment on their apps, and Defendants have superior ability and control to
 6                  provide that safety with respect to activities that they sponsor or control;
 7               c. Plaintiff relied upon Defendants for protection against third-party misuse or
 8                  misconduct;
 9               d. The special relationship Plaintiff had with Defendants substantially benefits
10                  Defendants through profits and growth in users and user activity. Defendants
11                  could not successfully operate without the growth in users and user activity
12                  generated by children;
13               e. Defendants were far more to Plaintiff than a business. Defendants provided
14                  Plaintiff with opportunities for social interaction and a discrete community of
15                  other users. Plaintiff was dependent on Defendants to provide structure,
16                  guidance, and a safe environment;

17               f. Defendants have superior control over their app environments and the ability to
18                  protect their users. Defendants impose a variety of rules and restrictions to
19                  supposedly maintain a safe and orderly environment. Defendants employ
20                  internal staff to enforce these rules and restrictions and can monitor and
21                  discipline users when necessary. Defendants have the power to influence
22                  Plaintiff’s values, consciousness, relationships, and behaviors; and
23               g. Defendants have voluntarily undertaken a responsibility to keep children safe
24                  on their apps. As alleged above, Defendants have publicly stated that they take
25                  steps to keep children safe on their apps and therefore have undertaken a duty
26                  to act reasonably in taking such steps.
27        239.   Plaintiff was a foreseeable user of each Defendant’s app.

28        240.   Each Defendant knew that minors such as Plaintiff would use its app.

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 1          241.    Each Defendant invited, solicited, encouraged, or reasonably should have foreseen
 2 the fact, extent, and manner of Plaintiff’s use of its app.
 3          242.    Each Defendant knew or, by the exercise of reasonable care, should have known,
 4 that the reasonably foreseeable use of its respective app (as developed, set up, managed,

 5 maintained, supervised, and operated by that Defendant) was dangerous, harmful, and injurious
 6 when used by youth such as Plaintiff in a reasonably foreseeable manner.
 7          243.    At all relevant times, each Defendant knew or, by the exercise of reasonable care,
 8 should have known that its respective app (as developed, set up, managed, maintained, supervised,
 9 and operated by that Defendant) posed unreasonable risks of harm to youth such as Plaintiff, which
10 risks were known and knowable, including in light of the internal data and knowledge each
11 Defendant had regarding its app.
12          244.    Each Defendant knew, or by the exercise of reasonable care, should have known,
13 that ordinary child users of its respective app, such as Plaintiff, would not have realized the potential
14 risks and dangers of using the app, including a risk of grooming, sexual abuse, and sexual
15 exploitation, which foreseeably can lead to a cascade of negative effects, including but not limited
16 to physical injury, damage to self-worth, stigma and social isolation, reduced academic

17 performance, increased risky behavior, susceptibility to future sexual exploitation, attachment
18 issues, identity confusion, and profound mental health issues for young consumers, including but
19 not limited to depression, anxiety, suicidal ideation, self-harm, post-traumatic stress disorder,
20 insomnia, eating disorders, death, and other harmful effects.
21          245.    Each Defendant’s conduct was closely connected to Plaintiff’s injuries, which were
22 highly certain to occur, as evidenced by the significance of Plaintiff’s injuries.
23          246.    Each Defendant could have avoided Plaintiff’s injuries with minimal cost,
24 including, for example, by not including certain features in its respective app which harmed
25 Plaintiff.
26          247.    Imposing a duty on Defendants would benefit the community at large.
27          248.    Imposing a duty on Defendants would not be burdensome to them because they have

28 the technological and financial means to avoid the risks of harm to Plaintiff.

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 1          249.   Each Defendant owed a heightened duty of care to youth users of its app because
 2 children’s brains are not fully developed, meaning young people are more neurologically
 3 vulnerable than adults to abusive contact facilitated by Defendants’ apps because they have a hard
 4 time distinguishing between patterns of genuine friendship and grooming relationships.

 5          250.   Each Defendant breached its duties of care owed to Plaintiff through its affirmative
 6 malfeasance, actions, business decisions, and policies in the development, set up, management,
 7 maintenance, operation, marketing, advertising, promotion, supervision, and control of its
 8 respective app. These breaches are based on Defendants’ own actions in managing their own apps
 9 made available to the public, independent of any actions taken by a third party. Those breaches
10 include but are not limited to:
11                 a. Including features in their apps that, as described above, are currently structured
12                     and operated in a manner that unreasonably creates or increases the foreseeable
13                     risk of grooming, sexual abuse, and sexual exploitation to youth, including
14                     Plaintiff;
15                 b. Including features in their apps that, as described above, are currently structured
16                     and operated in a manner that unreasonably creates or increases the foreseeable

17                     risk of harm to the physical and mental health and well-being of youth users,
18                     including Plaintiff, including but not limited to physical injury, damage to self-
19                     worth, stigma and social isolation, reduced academic performance, increased
20                     risky behavior, susceptibility to future sexual exploitation, attachment issues,
21                     identity confusion, and profound mental health issues for young consumers,
22                     including but not limited to depression, anxiety, suicidal ideation, self-harm,
23                     post-traumatic stress disorder, insomnia, eating disorders, death, and other
24                     harmful effects;
25                 c. Maintaining unreasonably dangerous features in their apps after notice that such
26                     features, as structured and operated, posed a foreseeable risk of harm to the
27                     physical and mental health and well-being of youth users; and

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 1                 d. Facilitating unsupervised and/or hidden use of their respective apps by youth,
 2                     including by adopting protocols that allow youth users to change their own
 3                     safety settings or parental controls, and create multiple and private accounts.
 4          251.   Each Defendant breached its duties of care owed to Plaintiff through its

 5 nonfeasance, failure to act, and omissions in the development, setup, management, maintenance,
 6 operation, marketing, advertising, promotion, supervision, and control of its respective app. These
 7 breaches are based on Defendants’ own actions in managing their own apps made available to the
 8 public, independent of any actions taken by a third party. Those breaches include but are not limited
 9 to:
10                 a. Failing to implement effective parental controls;
11                 b. Failing to implement effective parental notifications, such as when a child
12                     messages another user, particularly an adult user, or when a child interacts with
13                     accounts that have been blocked by other users or suspended in the past;
14                 c. Failing to require adult users to provide a phone number when signing up for an
15                     account;
16                 d. Failing to implement pop-up safety notices within chats and games to warn users

17                     about inappropriate behavior;
18                 e. Failing to ban IP and MAC addresses of accounts associated with known
19                     abusers;
20                 f. Failing to set default safety settings to the most protective options;
21                 g. Having an open chat function;
22                 h. Failing to provide a transcript of a child’s communications to the parent;
23                 i. Failing to implement reasonably available means to monitor for, report, and
24                     prevent the use of their apps by sexual predators to victimize, abuse, and exploit
25                     youth users;
26                 j. Failing to provide effective mechanisms for youth users and their
27                     parents/guardians to report abuse or misuse of their apps;

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 1                  k. Failing to implement effective protocols to verify ages and identity of all users;
 2                     and
 3                  l. Others as set forth herein.
 4          252.    A reasonable company under the same or similar circumstances as Defendants

 5 would have developed, set up, managed, maintained, supervised, and operated its app in a manner
 6 that is safer for and more protective of youth users like Plaintiff.
 7          253.    At all relevant times, Plaintiff used each Defendant’s app in the manner in which it
 8 was intended to be used.
 9          254.    As a direct and proximate result of each Defendant’s breach of one or more of its
10 duties, Plaintiff was harmed. Such harms include the sexual exploitation of Plaintiff by a child
11 predator and a cascade of resulting negative effects, including but not limited to damage to self-
12 worth, stigma and social isolation, reduced academic performance, increased risky behavior,
13 susceptibility to future sexual exploitation, attachment issues, identity confusion, and profound
14 mental health issues such as depression, anxiety, and other harmful effects.
15          255.    Each Defendant’s breach of one or more of its duties was a substantial factor in
16 causing harms and injuries to Plaintiff.

17          256.    Plaintiff was injured from using both of Defendants’ defective apps through no fault
18 of her own. The fact that Plaintiff was injured by using both of Defendants’ apps means that
19 Defendants are each jointly and severally responsible for the injuries caused by any one of
20 Defendants’ apps and the burden shifts to Defendants to identify alternative causes of the alleged
21 injuries and apportion responsibility for the alleged injuries.
22          257.    The nature of the fraudulent and unlawful acts that created safety concerns for
23 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ apps.
24          258.    Each Defendant’s conduct, as described above, was intentional, fraudulent, willful,
25 wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and displayed an
26 entire want of care and a conscious and depraved indifference to the consequences of their conduct,
27 including to the health, safety, and welfare of their customers, and warrants an award of punitive

28 damages in an amount sufficient to punish the Defendants and deter others from like conduct.

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 1          259.    Plaintiff demands judgment against each Defendant for compensatory and punitive
 2 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court
 3 deems proper.
 4                                    THIRD CAUSE OF ACTION

 5                              NEGLIGENCE – FAILURE TO WARN
 6                                (By Plaintiff Against Each Defendant)
 7          260.    Plaintiff incorporates each and every factual allegation set forth above.
 8          261.    This claim is brought against Defendants Roblox and Discord.
 9          262.    At all relevant times, each Defendant designed, developed, managed, operated,
10 tested, produced, labeled, marketed, advertised, promoted, controlled, sold, supplied, distributed,
11 and benefited from its app used by Plaintiff.
12          263.    Plaintiff was a foreseeable user of each Defendant’s app.
13          264.    Each Defendant knew, or by the exercise of reasonable care, should have known,
14 that use of its app was dangerous, harmful, and injurious when used in a reasonably foreseeable
15 manner by minors.
16          265.    Each Defendant knew, or by the exercise of reasonable care, should have known,

17 that ordinary minor users, such as Plaintiff, would not have realized the potential risks and dangers
18 of its app, including a risk of grooming, sexual abuse, and sexual exploitation, which can lead to a
19 cascade of harms. Those harms include but are not limited to physical injury, damage to self-worth,
20 stigma and social isolation, reduced academic performance, increased risky behavior, susceptibility
21 to future sexual exploitation, attachment issues, identity confusion, and profound mental health
22 issues for young consumers, including but not limited to depression, anxiety, suicidal ideation, self-
23 harm, post-traumatic stress disorder, insomnia, death, and other harmful effects.
24          266.    Had Plaintiff received proper or adequate warnings about the risks of each
25 Defendant’s app, Plaintiff would have heeded such warnings.
26          267.    Each Defendant knew or, by the exercise of reasonable care, should have known
27 that its app posed risks of harm to youth. These risks were known and knowable in light of

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     COMPLAINT AGAINST ROBLOX CORPORATION AND DISCORD INC.                                              80
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 1 Defendants’ own internal data and knowledge regarding their apps at the time of development,
 2 design, marketing, promotion, advertising, and distribution to Plaintiff.
 3          268.   Because Defendants’ conduct created the risk that child users of their apps would
 4 be subject to grooming, sexual abuse, and sexual exploitation, Defendants each owed a duty to all

 5 reasonably foreseeable users, including but not limited to minor users and their parents, to provide
 6 adequate warnings about the risk of using Defendants’ apps that were known to Defendants, or that
 7 Defendants should have known through the exercise of reasonable care.
 8          269.   In addition, as described above, each Defendant owed a special relationship duty to
 9 Plaintiff to protect her against harm caused by its app and employees or by other users.
10          270.   Each Defendant owed a heightened duty of care to minor users and their parents to
11 warn about its app’s risks because children’s brains are not fully developed, resulting in a
12 diminished capacity to make responsible decisions regarding contact with strangers online.
13 Children are also more neurologically vulnerable than adults to abusive contact facilitated by
14 Defendants’ apps because they have a hard time distinguishing between patterns of genuine
15 friendship and grooming relationships.
16          271.   Each Defendant breached its duty by failing to use reasonable care in providing

17 adequate warnings to Plaintiff, such as failing to notify parents and the general public of the
18 following, among others:
19                 a. Defendants fail to require that children have parental approval before signing up
20                     for an account;
21                 b. New users of Defendants’ apps can identify themselves as minors, begin to use
22                     the app, and do so indefinitely, without ever receiving a safety warning, and
23                     without ever having to provide information so that Defendants can warn the
24                     users’ parents or guardians;
25                 c. Defendants’ apps’ default safety settings allow adults and other strangers’
26                     accounts to find, “friend,” and communicate with children’s accounts;
27                 d. Defendants’ parental control settings allowed children to modify their own

28                     parental control settings;

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 1                 e. Defendants’ platforms recommend that adult users and other strangers “friend”
 2                    and contact child accounts;
 3                 f. Defendants fail to block the IP and MAC addresses of known abusers;
 4                 g. Adult predators use Defendants’ apps to target children for sexual exploitation,

 5                    sextortion, and CSAM;
 6                 h. Defendants’ apps enable and increase risk of exposure to predators and can
 7                    result in grooming, sexual abuse, and sexual exploitation, as well as their
 8                    resultant physical and mental injuries;
 9                 i. Sexual predators use Robux to coerce children into sending them nude photos
10                    or engaging in other types of sexually explicit behavior;
11                 j. Usage of Defendants’ apps can increase risky and uninhibited behavior in
12                    children, making them easier targets to adult predators for sexual exploitation,
13                    sextortion, and CSAM;
14                 k. Usage of Defendants’ apps can normalize abuse and pornography, leading
15                    children to abuse other children either contemporaneously or later when the
16                    children are older;

17                 l. The likelihood and severity of harm is greater for children;
18                 m. The likelihood and intensity of these harmful effects is exacerbated by the
19                    interaction of each app’s features with one another;
20                 n. Defendants fail to verify ages, allowing adult predators to pose as children on
21                    Defendants’ apps; and
22                 o. Others as set forth herein.
23         272.    A reasonable company under the same or similar circumstances as Defendants
24 would have used reasonable care to provide adequate warnings to consumers, including the parents
25 of minor users, as described herein.
26         273.    At all relevant times, each Defendant could have provided adequate warnings to
27 prevent the harms and injuries described herein.

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 1          274.    As a direct and proximate result of each Defendant’s breach of its duty to provide
 2 adequate warnings, Plaintiff was harmed and sustained the injuries set forth herein. Each
 3 Defendant’s failure to provide adequate and sufficient warnings was a substantial factor in causing
 4 the harms to Plaintiff.

 5          275.    As a direct and proximate result of each Defendant’s failure to warn, Plaintiff
 6 requires and/or will require more healthcare and services and did incur medical, health, incidental,
 7 and related expenses.
 8          276.    Plaintiff was injured from using both of Defendants’ defective apps through no fault
 9 of her own. The fact that Plaintiff was injured by using both of Defendants’ apps means that
10 Defendants are each jointly and severally responsible for the injuries caused by any one of
11 Defendants’ apps and the burden shifts to Defendants to identify alternative causes of the alleged
12 injuries and apportion responsibility for the alleged injuries.
13          277.    The nature of the fraudulent and unlawful acts that created safety concerns for
14 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ apps.
15          278.    The conduct of each Defendant, as described above, was intentional, fraudulent,
16 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and

17 displayed an entire want of care and a conscious and depraved indifference to the consequences of
18 its conduct, including to the health, safety, and welfare of their customers, and warrants an award
19 of punitive damages in an amount sufficient to punish each Defendant and deter others from like
20 conduct.
21          279.    Plaintiff demands judgment against each Defendant for compensatory and punitive
22 damages, together with interest, costs of suit, attorneys' fees, and all such other relief as the Court
23 deems proper.
24                                   FOURTH CAUSE OF ACTION
25                            NEGLIGENCE – UNREASONABLE DESIGN
26                                (By Plaintiff Against Each Defendant)
27          280.    Plaintiff incorporates each and every factual allegation set forth above.

28          281.    This claim is brought against Defendants Roblox and Discord.

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 1          282.   At all relevant times, each Defendant designed, developed, managed, operated,
 2 tested, produced, labeled, marketed, advertised, promoted, controlled, sold, supplied, distributed,
 3 and benefited from its respective app used by Plaintiff.
 4          283.   Each Defendant knew or, by the exercise of reasonable care, should have known,

 5 that its app was dangerous, harmful, and injurious when used by youth in a reasonably foreseeable
 6 manner.
 7          284.   Each Defendant knew or, by the exercise of reasonable care, should have known
 8 that its respective app posed risks of harm to youth. These risks were known and knowable in light
 9 of Defendants’ own internal data and knowledge regarding their apps at the time of the apps’
10 development, design, marketing, promotion, advertising, and distribution to Plaintiff.
11          285.   Each Defendant knew, or by the exercise of reasonable care, should have known,
12 that ordinary minor consumers such as Plaintiff would not have realized the potential risks and
13 dangers of its app. Those risks include grooming, sexual abuse, and sexual exploitation, which can
14 lead to a cascade of negative effects, including but not limited to physical injury, damage to self-
15 worth, stigma and social isolation, reduced academic performance, increased risky behavior,
16 susceptibility to future sexual exploitation, attachment issues, identity confusion, and profound

17 mental health issues for young consumers, including but not limited to depression, anxiety, suicidal
18 ideation, self-harm, post-traumatic stress disorder, insomnia, death, and other harmful effects.
19          286.   Each Defendant owed a duty to all reasonably foreseeable users to design a safe app.
20          287.   Each Defendant owed a heightened duty of care to minor users of its app because
21 children’s brains are not fully developed, resulting in a diminished capacity to make responsible
22 decisions regarding contact with strangers online. Children are also more neurologically vulnerable
23 than adults to abusive contact facilitated by Defendants’ apps because they have a hard time
24 distinguishing between patterns of genuine friendship and grooming relationships.
25          288.   Plaintiff was a foreseeable user of each Defendant’s app.
26          289.   Each Defendant knew that minors such as Plaintiff would use its app.
27          290.   Each Defendant breached its respective duty in designing its app.

28

     COMPLAINT AGAINST ROBLOX CORPORATION AND DISCORD INC.                                            84
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 1          291.    Each Defendant breached its respective duty by failing to use reasonable care in the
 2 design of its app by negligently designing the app with features that specifically allow predators to
 3 find, groom, exploit, and abuse children, as described herein.
 4          292.    Each Defendant breached its respective duty by designing an app that was less safe

 5 to use than an ordinary consumer would expect when used in an intended and reasonably
 6 foreseeable manner.
 7          293.    Each Defendant breached its respective duty by failing to use reasonable care in the
 8 design of its app by negligently designing its app with features as described above that created or
 9 increased the risk of grooming, sexual abuse, and sexual exploitation for children, which can lead
10 to a cascade of negative effects, including but not limited to physical injury, damage to self-worth,
11 stigma and social isolation, reduced academic performance, increased risky behavior, susceptibility
12 to future sexual exploitation, attachment issues, identity confusion, and profound mental health
13 issues for young consumers, including but not limited to depression, anxiety, suicidal ideation, self-
14 harm, post-traumatic stress disorder, insomnia, death, and other harmful effects.
15          294.    Each Defendant breached its respective duty by failing to use reasonable care to use
16 cost-effective, reasonably feasible alternative designs, including changes to the harmful features,

17 and other safety measures, to minimize the harms described herein, including but not limited to:
18                  a. Requiring children have parental approval and a parent’s email address to sign-
19                     up for an account;
20                  b. Effective parental controls;
21                  c. Effective parental notifications, including notifying parents any time a child
22                     messages another user, particularly an adult user, or notifying parents when
23                     children interact with accounts that have been blocked by other users or
24                     suspended in the past, among other controls;
25                  d. Setting default safety settings to the most protective options, including blocking
26                     direct messaging between child and adult users, or only allowing messaging
27                     between adult users and a child with the parent’s explicit permission to message

28                     the adult user;

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 1                 e. Requiring adults to provide a phone number when signing up for an account;
 2                 f. Pop-up safety notices within chats and games to warn users about inappropriate
 3                     behavior;
 4                 g. Preventing strangers from sending Robux to child accounts, and preventing

 5                     children from sending Robux to strangers’ accounts;
 6                 h. Banning IP and MAC addresses of accounts associated with known abusers;
 7                 i. Controlled chat option;
 8                 j. Providing a transcript of a child’s communications to the parent;
 9                 k. Implementing reporting protocols to allow users or visitors of Defendants’ apps
10                     to report CSAM and adult predator accounts specifically without the need to
11                     create or log in to the apps prior to reporting;
12                 l. Robust age verification; and
13                 m. Others as set forth herein.
14          295.   Alternative designs that would reduce the dangerous features of Defendants’
15 respective apps were available, would have served effectively the same purpose as Defendants’
16 defectively designed apps, and would have reduced the gravity and severity of danger each

17 Defendant’s app posed minor Plaintiffs.
18          296.   A reasonable company under the same or similar circumstances as each Defendant
19 would have designed a safer app.
20          297.   At all relevant times, Plaintiff used each Defendant’s app in the manner in which it
21 was intended by each Defendant to be used.
22          298.   As a direct and proximate result of each Defendant’s breached duties, Plaintiff was
23 harmed. Each Defendant’s design of its respective app was a substantial factor in causing Plaintiff’s
24 harms and injuries.
25          299.   Plaintiff was injured from using both of Defendants’ defective apps through no fault
26 of her own. The fact that Plaintiff was injured by using both of Defendants’ apps means that
27 Defendants are each jointly and severally responsible for the injuries caused by any one of

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 1 Defendants’ apps and the burden shifts to Defendants to identify alternative causes of the alleged
 2 injuries and apportion responsibility for the alleged injuries.
 3          300.    The nature of the fraudulent and unlawful acts that created safety concerns for
 4 Plaintiff are not the type of risks that are immediately apparent from using each Defendant’s app.

 5          301.    The conduct of each Defendant, as described above, was intentional, fraudulent,
 6 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and
 7 displayed an entire want of care and a conscious and depraved indifference to the consequences of
 8 its conduct, including to the health, safety, and welfare of its customers, and warrants an award of
 9 punitive damages in an amount sufficient to punish each Defendant and deter others from like
10 conduct.
11          302.    Plaintiff demands judgment against each Defendant for compensatory and punitive
12 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court
13 deems proper.
14                                     FIFTH CAUSE OF ACTION
15                                   NEGLIGENT UNDERTAKING
16                                (By Plaintiff Against Each Defendant)

17          303.    Plaintiff incorporates each and every factual allegation set forth above.
18          304.    This claim is brought against Defendants Roblox and Discord.
19          305.    Each Defendant rendered parental control services and account safety services to
20 Plaintiff’s parents.
21          306.    Each Defendant knew, or reasonably should have known, that effective parental
22 control and account safety services were necessary for the protection of minor users.
23          307.    Each Defendant’s conduct was closely connected to Plaintiff’s injuries, which were
24 highly certain to occur, as evidenced by the significance of Plaintiff’s injuries.
25          308.    Each Defendant could have avoided Plaintiff’s injuries with minimal cost,
26 including, for example, by implementing parental control and account safety services that were
27 effective and that would prevent child users from being contacted by adult accounts or strangers’

28 accounts generally.

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 1          309.    Imposing a duty on Defendants would benefit the community at large.
 2          310.    Imposing a duty on Defendants would not be burdensome to them because they have
 3 the technological and financial means to avoid the risks of harm to children.
 4          311.    Each Defendant owed a heightened duty of care to minor users and their parents to

 5 implement parental control and account safety services that were effective and that would prevent
 6 child users from being contacted by adult accounts or strangers’ accounts generally.
 7          312.    Plaintiff’s mother relied on each Defendant exercising reasonable care in
 8 undertaking to render parental control and account safety services.
 9          313.    Each Defendant breached its duty of undertaking by failing to use reasonable care
10 in rendering its parental control and account safety services to prevent child users from being
11 contacted by adult accounts or strangers’ accounts generally.
12          314.    Each Defendant failed to exercise reasonable care in rendering these parental control
13 and account safety services.
14          315.    Each Defendant’s failure to exercise reasonable care increased the risk of, and was
15 a substantial factor in causing harm to Plaintiff.
16          316.    Plaintiff was harmed by her mother’s reliance on Defendants to provide effective

17 parental control and account safety services.
18          317.    Each Defendant’s breach of one or more of its duties was a substantial factor in
19 causing harms and injuries to Plaintiff.
20          318.    Plaintiff was injured from using both of Defendants’ defective apps through no fault
21 of her own. The fact that Plaintiff was injured by using both of Defendants’ apps means that
22 Defendants are each jointly and severally responsible for the injuries caused by any one of
23 Defendants’ apps and the burden shifts to Defendants to identify alternative causes of the alleged
24 injuries and apportion responsibility for the alleged injuries.
25          319.    The nature of the fraudulent and unlawful acts that created safety concerns for
26 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ apps.
27          320.    The conduct of each Defendant, as described above, was intentional, fraudulent,

28 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and

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 1 displayed an entire want of care and a conscious and depraved indifference to the consequences of
 2 their conduct, including to the health, safety, and welfare of its customers, and warrants an award
 3 of punitive damages.
 4          321.    Plaintiff demands judgment against each Defendant for compensatory and punitive

 5 damages, together with interest, costs of suit, attorneys' fees, and all such other relief as the Court
 6 deems proper.
 7                                    SIXTH CAUSE OF ACTION
 8                             STRICT LIABILITY – DESIGN DEFECT
 9                                (By Plaintiff Against Each Defendant)
10          322.    Plaintiff incorporates each and every factual allegation set forth above.
11          323.    This claim is brought against Defendants Roblox and Discord.
12          324.    At all relevant times, each Defendant designed, developed, managed, operated,
13 tested, produced, labeled, marketed, advertised, promoted, controlled, sold, supplied, distributed,
14 and benefitted from its product used by Plaintiff.
15          325.    These products were designed, manufactured, maintained, controlled, and
16 distributed from the respective California headquarters of each Defendant.

17          326.    Each Defendant’s product was designed and intended to be a gaming and/or
18 communication product. The software and architecture of each product is the same for every user
19 that logs on or signs up for an account. These products are uniformly defective and pose the same
20 danger to each minor user.
21          327.    Each Defendant’s product is distributed and sold to the public through retail
22 channels (e.g., the Apple App “Store” and the Google Play “Store”).
23          328.    Each Defendant’s product is marketed and advertised to the public for the personal
24 use of the end-user/consumer.
25          329.    Each Defendant defectively designed its product to allow children to come into
26 contact with child predators. Children are particularly unable to appreciate the risks posed by the
27 products.

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 1           330.   The defects in the design of each Defendant’s product existed prior to the release of
 2 these products to Plaintiff and the public, and there was no substantial change to Defendants’
 3 products between the time of their upload by each Defendant to public or retail channels (e.g., the
 4 App Store or Google Play) and the time of their distribution to Plaintiff via download or URL

 5 access.
 6           331.   Plaintiff used these products as intended, and each Defendant knew or, by the
 7 exercise of reasonable care, should have known that Plaintiff would use these products without
 8 inspection for its dangerous nature.
 9           332.   Each Defendant defectively designed its product to appeal to adult predators by
10 making it easy to find children and enabled their contact, grooming, sexual exploitation, and sexual
11 abuse of children, including Plaintiff.
12           333.   Each Defendant failed to test the safety of the features it developed and implemented
13 for use on its product. When each Defendant did perform some product testing and had knowledge
14 of ongoing harm, it failed to adequately remedy its product’s defects or warn Plaintiff.
15           334.   Each Defendant’s product is defective in design and poses a substantial likelihood
16 of harm for the reasons set forth herein, because the products fail to meet the safety expectations

17 of ordinary consumers when used in an intended or reasonably foreseeable manner, and because
18 the products are less safe than an ordinary consumer would expect when used in such a manner.
19 Children and teenagers are among the ordinary consumers of Defendants’ products. Indeed, each
20 Defendant markets, promotes, and advertises its respective product to pre-teen and young
21 consumers. Pre-teen and young consumers, and their parents and guardians, do not expect
22 Defendants’ products to expose them to predators when the products are used in their intended
23 manner by their intended audience. They do not expect the features embedded by Defendants in
24 their products to make it easy for child predators to sign-up for accounts and find children, groom
25 children, and sexually exploit children. They do not expect Defendants’ revenue and profits to be
26 directly tied to predators’ extortion of children.
27           335.   Each Defendant’s product is likewise defectively designed in that it creates an

28 inherent risk of danger; specifically, a risk of grooming, sexual abuse, and sexual exploitation,

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 1 which can lead to a cascade of harms. Those harms include but are not limited to physical injury,
 2 damage to self-worth, stigma and social isolation, reduced academic performance, increased risky
 3 behavior, susceptibility to future sexual exploitation, attachment issues, identity confusion, and
 4 profound mental health issues for young consumers, including but not limited to depression,

 5 anxiety, suicidal ideation, self-harm, post-traumatic stress disorder, insomnia, death, and other
 6 harmful effects.
 7          336.   The risks inherent in the design of each Defendant’s product significantly outweigh
 8 any benefits of such design.
 9          337.   Defendants could have utilized cost-effective, reasonably feasible alternative
10 designs, including changes to the problematic features described above, to minimize the harms
11 described herein, including, but not limited to:
12                 a. Requiring children have parental approval and a parent’s email address to sign-
13                     up for an account;
14                 b. Effective parental controls;
15                 c. Effective parental notifications, including notifying parents any time a child
16                     messages another user, particularly an adult user, or notifying parents when

17                     children interact with accounts that have been blocked by other users or
18                     suspended in the past, among other controls;
19                 d. Setting default safety settings to the most protective options, including blocking
20                     direct messaging between child and adult users, or only allowing messaging
21                     between adult users and a child with the parent’s explicit permission to message
22                     the adult user;
23                 e. Requiring adults to provide a phone number when signing up for an account;
24                 f. Pop-up safety notices within chats and games to warn users about inappropriate
25                     behavior;
26                 g. Preventing strangers from sending Robux to child accounts, and preventing
27                     children from sending Robux to strangers’ accounts;

28                 h. Banning IP and MAC addresses of accounts associated with known abusers;

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 1                 i. Controlled chat option;
 2                 j. Providing a transcript of a child’s communications to the parent;
 3                 k. Implementing reporting protocols to allow users or visitors of Defendants’
 4                       products to report child sex abuse material and adult predator accounts

 5                       specifically without the need to create or log in to the products prior to reporting;
 6                 l. Robust age and identity verification; and
 7                 m. Others as set forth herein.
 8         338.    Alternative designs were available that would prevent child predators from finding,
 9   grooming, and exploiting children, and which would have served effectively the same purpose of
10   Defendants’ products while reducing the gravity and severity of danger posed by those products’
11   defects.
12         339.    Plaintiff used Defendants’ respective products as intended or in reasonably
13   foreseeable ways.
14         340.    The physical, emotional, and economic injuries of Plaintiff were reasonably
15   foreseeable to Defendants at the time of their products’ development, design, advertising,
16   marketing, promotion, and distribution.

17         341.    Each Defendant’s product was defective and unreasonably dangerous when it left
18   each Defendant’s respective possession and control. The defects continued to exist through the
19   products’ distribution to and use by consumers, including Plaintiff, who used the products without
20   any substantial change in the products’ condition.
21         342.    As manufacturers, designers and seller, each Defendant had a duty to inform
22   themselves with the best knowledge of the risks and the defects of its product and each Defendant
23   had such knowledge. Their victims, including Plaintiff, were powerless to protect themselves
24   against unknown harms, and Defendants should bear the costs of their injuries.
25         343.    Plaintiff was injured as a direct and proximate result of each Defendant’s respective
26   defective designs as described herein. The defective design of the products used by Plaintiff was
27   a substantial factor in causing harms to Plaintiff.

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 1         344.    As a direct and proximate result of each Defendant’s respective product’s defective
 2   design, Plaintiff suffered serious and dangerous injuries.
 3         345.    As a direct and proximate result of each Defendant’s product’s defective design,
 4   Plaintiff requires and/or will require more healthcare and services and did incur medical, health,

 5   incidental, and related expenses.
 6         346.    Plaintiff was injured from using both of Defendants’ defective products through no
 7   fault of her own. The fact that Plaintiff was injured by using both of Defendants’ products means
 8   that Defendants are each jointly and severally responsible for the injuries caused by any one of
 9   Defendants’ products and the burden shifts to Defendants to identify alternative causes of the
10   alleged injuries and apportion responsibility for the alleged injuries.
11         347.    The nature of the fraudulent and unlawful acts that created safety concerns for
12   Plaintiff are not the type of risks that are immediately apparent from using Defendants’ respective
13   products.
14         348.    The conduct of each Defendant, as described above, was intentional, fraudulent,
15   willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and
16   displayed an entire want of care and a conscious and depraved indifference to the consequences

17   of its conduct, including to the health, safety, and welfare of its customers, and warrants an award
18   of punitive damages in an amount sufficient to punish each Defendant and deter others from like
19   conduct.
20         349.    Plaintiff demands judgment against each Defendant for compensatory and punitive
21   damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court
22   deems proper.
23                                   SEVENTH CAUSE OF ACTION
24                           STRICT LIABILITY – FAILURE TO WARN
25                                (By Plaintiff Against Each Defendant)
26         350.    Plaintiff incorporates each and every factual allegation set forth above.
27         351.    This claim is brought against Defendants Roblox and Discord.

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 1          352.    At all relevant times, each Defendant designed, developed, managed, operated,
 2 tested, produced, labeled, marketed, advertised, promoted, controlled, sold, supplied, distributed,
 3 and benefitted from its product used by Plaintiff.
 4          353.    These products were designed, manufactured, maintained, controlled and

 5 distributed from the respective California headquarters of each Defendant.
 6          354.    Each Defendant’s product was designed and intended to be a gaming and/or
 7 communication product. The software and architecture of each product is the same for every user
 8 that logs on or signs up for an account. These products are uniformly defective and pose the same
 9 danger to each minor user.
10          355.    Each Defendant’s product is distributed and sold to the public through retail
11 channels (e.g., the Apple App “Store” and the Google Play “Store”).
12          356.    Each Defendant sold and distributed its respective product to Plaintiff in a defective
13 and unreasonably dangerous condition by failing to adequately warn about the risk of harm to youth
14 as described herein, including a risk of grooming, sexual abuse, and sexual exploitation, which can
15 lead to a cascade of harms. Those harms include but are not limited to physical injury, damage to
16 self-worth, stigma and social isolation, reduced academic performance, increased risky behavior,

17 susceptibility to future sexual exploitation, attachment issues, identity confusion, and profound
18 mental health issues for young consumers including but not limited to depression, anxiety, suicidal
19 ideation, self-harm, post-traumatic stress disorder, insomnia, death, and other harmful effects.
20          357.    Defendants were in the best position to know the dangers their products posed to
21 consumers, including Plaintiff, as they had superior knowledge of the risks and dangers posed by
22 their products and had exclusive knowledge of these risks at the time of development, design,
23 marketing, promotion, advertising and distribution. Defendants had exclusive control of their
24 products at all times relevant to this litigation.
25          358.    Each Defendant’s respective product is dangerous, to an extent beyond that
26 contemplated by the ordinary user who used Defendants’ products, because they enable predators
27 to find, groom, abuse, and exploit children.

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 1          359.   Each Defendant knew or, by the exercise of reasonable care, should have known
 2 that its respective product posed risks of harm to youth considering its own internal data and
 3 knowledge regarding its product at the time of development, design, marketing, promotion,
 4 advertising, and distribution.

 5          360.   These risks were known and knowable in light of Defendants’ own internal data and
 6 knowledge regarding their products at the time of the products’ development, design, marketing,
 7 promotion, advertising, and distribution to Plaintiff.
 8          361.   Defendants’ products are defective and unreasonably dangerous because, among
 9 other reasons described herein, each Defendant failed to exercise reasonable care to inform users
10 that, among other things:
11                 a. Sexual predators use Defendants’ products to find, contact, groom and abuse
12                     children with alarming frequency;
13                 b. Sexual predators use Defendants’ products to solicit, produce, and distribute
14                     CSAM with alarming frequency;
15                 c. Sexual predators target young children for CSAM on Defendants’ products with
16                     alarming frequency;

17                 d. Sexual predators use Robux to coerce children into sending them nude photos
18                     or engaging in other types of sexually explicit behavior;
19                 e. Defendants’ products are designed in a way that enables and increases risk of
20                     exposure to predators and resulting sexual exploitation;
21                 f. Defendants’ products cause grooming, sexual abuse, and sexual exploitation,
22                     and its resultant physical and mental injuries;
23                 g. Use of Defendants’ products can increase risky and uninhibited behavior in
24                     children, making them easier targets to adult predators for sexual exploitation,
25                     sextortion, and CSAM;
26                 h. Use of Defendants’ products can normalize abuse and pornography, leading
27                     children to abuse other children either contemporaneously or later when the

28                     children are older;

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 1                  i. New users of Defendants’ product can identify themselves as minors, begin to
 2                     use the product, and do so indefinitely, without ever receiving a safety warning,
 3                     and without ever having to provide information so that Defendants can warn the
 4                     users’ parents or guardians;

 5                  j. The likelihood and severity of harms is greater for children;
 6                  k. The likelihood and intensity of these harmful effects is exacerbated by the
 7                     interaction of each product’s features with one another; and
 8                  l. Others as set forth herein.
 9          362.    Plaintiff was a foreseeable user of each Defendant’s product.
10          363.    Ordinary minor users would not have recognized the potential risks of Defendants’
11 products when used in a manner reasonably foreseeable to Defendants.
12          364.    Had Plaintiff received proper or adequate warnings or instructions as to the risks of
13 using each Defendant’s product, Plaintiff would have heeded the warnings and/or followed the
14 instructions.
15          365.    Each Defendant’s failures to adequately warn Plaintiff about the risks of their
16 defective products were a proximate cause and a substantial factor in the injuries sustained by

17 Plaintiff.
18          366.    Plaintiff was injured from using both of Defendants’ defective products through no
19 fault of her own. The fact that Plaintiff was injured by using both of Defendants’ products means
20 that Defendants are each jointly and severally responsible for the injuries caused by any one of
21 Defendants’ products and the burden shifts to Defendants to identify alternative causes of the
22 alleged injuries and apportion responsibility for the alleged injuries.
23          367.    The nature of the fraudulent and unlawful acts that created safety concerns for
24 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ products.
25          368.    The conduct of each Defendant, as described above, was intentional, fraudulent,
26 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and
27 displayed an entire want of care and a conscious and depraved indifference to the consequences of

28 its conduct, including to the health, safety, and welfare of their customers, and warrants an award

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 1 of punitive damages in an amount sufficient to punish each Defendant and deter others from like
 2 conduct.
 3          369.    Plaintiff demands judgment against each Defendant for compensatory and punitive
 4 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

 5 deems proper.
 6 VIII.    PRAYER FOR RELIEF
 7          WHEREFORE, Plaintiff demands judgment against Defendants for the above-referenced
 8 claims and causes of action, and as follows:
 9              1. Past, present, and future general damages, the exact amount of which has yet to be
10                  ascertained, in an amount which will confirm to proof at time of trial, to compensate
11                  Plaintiff for injuries sustained as a result of the use of each Defendant’s product,
12                  including but not limited to physical pain and suffering, mental anguish, loss of
13                  enjoyment of life, emotional distress, and expenses for medical treatments;
14              2. Past, present, and future economic and special damages, according to proof at the
15                  time of trial;
16              3. Impaired earning capacity according to proof at the time of trial;

17              4. Medical expenses, past and future, according to proof at the time of trial;
18              5. Punitive or exemplary damages according to proof at the time of trial;
19              6. Attorneys’ fees;
20              7. For costs of suit incurred herein;
21              8. Pre-judgment and post-judgment interest as provided by law;
22              9. For nonmonetary injunctive relief; and
23              10. For such other and further relief as the Court may deem just and proper.
24   IX.    JURY TRIAL
25          370.    Plaintiff demands a jury trial on all issues.
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 1 Date: April 30, 2025                       Respectfully submitted,
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